          Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 1 of 104 PageID #:148


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      0/2020
      6/1                                                                                                    /2020 3/3
                        N                  UNITED STATES DISTRICT COURT
   THOMA.SDG . BRUTO                                                                       G. BRUTON
           IS T R IC T    RT
                       COUFOR              THE NORTHERN DISTRICT OF ILLINOIS RTKH,OUM.SA.SDISTRICT COURT
CLERK, U.S                                                                CLE
                                                 EASTERN DIVISION




                                                                              CIVL ACTION
     (Name ofthe plaintiff or plaintiffs)

                          v.                                                  NO.                    20CV2111

                                                                                                    JUDGE KENNELLY
                                                                                               MAGISTRATE JUDGE HARJANI
    0 ffortuni             -tg
                        Co rvrrvri       o       ssi       n
     (Name of the defendant or defendants)



                               COMPLAINT OF EMPLOYMENT DISCRIMINATION

     l.    This is an action for employment discrimination.

     2.    The plaintiff is         ei?Abt-+h Qo^za@z                                                                              of the

     county    of       Co                                                 in the state of     Lll             I MiS
                                                     il ion cl,ra\e     uxl@. :+n+gs Vly al .
     3. The defendant is                                                                                 ,Y1                      , whose

     street address is

     (city)   \l{rshi^'J-hn r"",,,rlDtT',.i,it;S                         (state)    D,   C.                    tzIe) ao   50J
     (Defendant's telephone            number) (_J -
     4.    The plaintiff sought employment or was employed by the defendant at (street address)

           500 NeSt fv[adisonStrsui+z
                         ison St. S   eooo                                                 (city)   chiC"ago
           (county) C.0 0         K        (state)   E L             tzw     coael   (oTbb           I




                 [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
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             [f you need additional space    for ANY section, please attach an additional sheet and reference that section.]




5.   The plaintiff lcheck one boxf

     (u)n              was denied employment by the defendant.

     (b)E              was hired and is still employed by the defendant.

     (.)M              was employed but is no longer employed by the defendant.


6.   The defendant discriminated against the plaintiff on or about, or beginning on or about,
     (month)Novemhef                     ,   (duy)-I-J-,         (year)    2,015

7.1     (Choose paragraph 7.1                or 7.2. do not complete both.)
                      (a) The defendant          is not a federal governmental agency, and the                  plaintiff      lcheck

                           one    boxf       lrorflro,                   filed   a charge or charges against the defendant


asserting the acts of discrimination indicated in this complaint with any of the following

govemment agencies:


         (D            n     ,fr. United States Equal Employment Opportunity Commission, on or about

                      (month)                            (day)-                  (vear)-.
         (ii) f] *,. tllinois Department of Human Rights, on or about
              (month)                (day)-        (vear)-.
     (b) If charges were filed with             an agency indicated above, a copy of the charge                    rs



attached.         f] veS. fl *o, but ptaintiffwill file a copy of the charge within 14 days.
It is the policy of both the Equal Employment Opportunity Commission                                  and the Illinois

Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff   has no reason to believe that this               policy was not followed in this case.


7.2         The defendant is a federal govemmental agency, and
         (a) the      plaintiff previously filed         a Complaint      of Employment Discrimination with the
         defendant asserting the acts of discrimination indicated in this court complaint.



                                                                     2


             [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
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          [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




                          d          Yes (month)       Yr-bytraf                   (du9     a          (year)   a0l1
                          tr         No, did not file Complaint of Employment Discrimination

        (b)         The plaintiff received a Final Agency Decision on (month)

                    @ui b                   gear)      a0lq                                         --r-
        (c)         Attached is a copy of the

                    (i)   Complaint of Employment Discrimination,

                          lYves ll
                          --a                     No, but a copy will be filed within              14 days.



                    (ii) Final Agency Decision


                          M
                          -./   vps ll             uo,   but a copy will be filed within 14 days.




8.       (Complete paragraph 8 only if defendant is not afederal governmental agency.)


         (u)n             the United States Equal Employment OpportunityCommission has not issued


                          aNotice of Right to Sue.


         o)fI             the United States Equal Employment Opportunity Commission has issued a


                          Notice of Right to Sue, which was received by the plaintiff on
                          (month)                           (day)_                (year)_                 a copy   ofwhich
                          Notice is attached to this complaint.


9.       The defendant discriminated against the plaintiff because ofthe plaintiffls lcheck only

         those that applyl:

         (u)[         Age (Age Discrimination Employment Act).

         O)n          Color (Title VII of the Civil Rights Act               of   1964 and42 U.S.C. $1981).



                                                                  a
                                                                  J


           [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
     Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 4 of 104 PageID #:151
          [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




         f.lEf        Disability(Americans with Disabilities Act or Rehabilitation Act)

         talE(National Origin (Title VII of the Civil                      Rights Act      of    1964 and42 U.S.C. $1981).

         (")fl        Race (Title     VII of the Civil Rights Act of 1964 and42 U.S.C.                      $1981).

         (Dn         ReHgion (Title VII of the Civil Rights Act                  of   1964)

         tglEI/s.x (Title vII of the civil Rights Act of 1964\
10.      If   the defendant is a state, county, municipal (city, town or village) or other local

         governmental agency, plaintiff further alleges discrimination on the basis of race, color,

         or national origin (42 U.S.C. $ 1983).

I   l.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII
         claims by 28 U.S.C.$r331,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(0(3); for

         42U.S.C.$1981 and $1983 by 42 U.S.C.$1988; fortheA.D.E.A.by42 U.S.C.$l2tt7;
         for the Rehabilitation Act, 29 U.S.C. $ 791.


12.      The defendantlcheck only those that applyl


         (u)[             failed to hire the plaintiff.

         @V               terminated the plaintiff s employment.

         (.)n             failed to promote the plaintiff.

         (d)n             failed to reasonably accommodate the plaintiff                    s   religion.

         (")Ef            failed to reasonably accommodate the plaintiff s disabilities.

         6)v               failed to stop harassment;

         GIV               retaliated against the plaintiff because the plaintiffdid something to assert
                           rights protected by the laws identified in paragraphs 9 and 10 above;

         (h)E              other (specify):




                                                                   4


              [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
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         [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




13.     The facts supporting the plaintiff s claim of discrimination are as follows:

                                                            D              Lut     d 0Y                                 h<-
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14.     IAGE DISCRIMINATION ONLY| Defendant knowingly, intentionally, and willfully
        discriminated against the plaintiff.

15.     The plaintiff demands that the case be tried by a jury.                    ilrrt              n      *O

16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
      lcheck only those that applyl


      (u)E          Direct the defendant to hire the plaintiff.

      $)w           Direct the defendant to re-employ the plaintiff.

      (.)E          Direct the defendant to promote the plaintiff.

      (d)I          Direct the defendant to reasonably accommodate the plaintiff s religion.

      (.)E          Direct the defendant to reasonably accommodate the plaintiff                        s   disabilities.

      (0E           Direct the defendant to (speciff):




                                                                  5


          [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
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        flf you need additional space for ANY section, please attach an additional sheet and reference that section.l




   telil            If available, grant the plaintiff appropriate injunctive relief, lost wages,
                    liquidated/double damages, front pay, compensatory damages, punitive damages,
                    prejudgment interest, post-judgment interest, and costs, including reasonable
                    attorney fees and expert witness fees.

   @V               Grant such other relief as the Court may find appropriate.



   (Plaintiffs signature)



   (Plaintiffs name)

OtitAxt)a Caontt,lez
   (Plaintiff      s street address)


 51't   tt         South          Triff            ftve,n     u<-



(city) ChiCa$             o              (state)   T.     L        @p)       bobAl
(Plaintiff s telephone number) (3ta ) - -?88                      -45n

                                                                               Date: 03          I   30 I *0 >O



                                                                  6


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                                                                                                                        l
                                                                                                        Page   I ot.1
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     Complaint Submission RE: Formal                EEO Case   Number:2019-00L2
     Elizabeth Gonzalez
     Sat   2/2/2019 4:23 PM
     To: CONTACT-OEO <contact-oeo@eeoc.gov>;ERICAWHITE-DUNSTON         <ERICA.WHITE-DUNSTON@EEOC.GOV>
     Cc: OFO EEOC < OFO.EEOC@EEOC.GOV>; stan.pietrusiak@eeoc.gov < stan.pietrusiak@eeoc.gov>; Macdonald,
     Dalton <dmacdonald@osc.gov>; nicholas.inzeo@eeoc.gov <nicholas.inzeo@eeoc.gov>


    I   J.   attar-hments   {.1 MB)

     Formal EEO Complaint (2019-0012).pdf;


    Dear Director of the Office of Equal Opporrunity:

    I have attached my formal EEO Complaint of discrimination (EEOC Form 429) and
    attachments as evidence related to the EEO Case Number: 2019-0012. Due to my disabilities; I
    have not been able to access my electronic mail, open my U.S. postal mail and not able to
    focus or be productive in my everyday life activities. While preparing to file this formal EEO
    complaint (EEO Case Number: 2019-0012); I have realized that the U.S. Equal Employment
    Opportunity Commission has continued to discriminate and retaliate against me after I filed
    my previous EEO Complaint (EEO Complaint Number: 2016-0014) and the U.S. EEOC has
    continued to discriminate and retaliate against me until this current date.
    Also, I have just discovered and realized that I was given false and misleading information
    when I was issued the Final Agency Decision (FAD ) The Office of Equal Opportunity failed
    to advise me olmy rights and give me an opportunity to file an appeal with the Office of
    Federal Operations but instead tried misleading to file an appeal with the Merit Systems
    Protection Board in order to miss the deadline and jeopardize my case. This was a malicious
    intent.
    (Please See Final Agency Decision and the Supplemental Report for further details.)


    Therefore, since I have just realized this; I would like to amend my complaint related to EEO
    Case Number: 2019-0012 and would like the additional claims to be added to the above
    mentioned EEO complaint (20 1 9-00 12.)

    Very Truly Yours,
    Elizabeth Gonzalez
    5944 South Tripp Avenue
    Chicago, IL 60629
    (312) 788-4s1e
    el i zab   eth-g onz2@hotmai      I   .   com




https:/ioutlook.live.com/mail/sentitems/id/AOMkADAwATY3ZmYLZSIIZDY5LWFiYW                           .    51312019
            Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 9 of 104 PageID #:156


                    INDIVIDUAL COMPLAINT O[' EMPI.OYMENT DISCRIMINATION                                                                                                    Agency Cme
                                         AGAINSTTHE                                                                                                                         Number:
                       u.s. EQUAL EMPLOYMENT OppORTUMr"y CoMMISSION
                         Based on Race, Color, Roligion, Nalional          origiq    Sex, Age, Disobility, and/or Reprisal
                                                                29 CFR $ 1614.103
                            (Priwcy Act Statement on ranrse. lddltionaltiling instuctiow are ailached.)



    I.   COMPLAINANT'S NAME:                                       Mailing Address                                                                     PhoneNumbcrs,       (:ell
                                                                      5944 South Tripp Avenue                                                           Iroc'e-l   312-78V4519
             Elizabeth Gonzalez                                       Chicago, lL 60629                                                                Office

 2, REPNESENTATIYE.'$ NAME                                         Mailing Address                                                                     Phone Numben



         Not Applicable                                              Not Applicable                                                                        Not Applicable

 Place y' in only ono box to colnplete the     following: The Representative narred rbovc d i$ o tr roq an attomqy.
 SECTIONtr II\DTVIDUALCOMPLAINTO['EMPLOYMEI\TDTSCRIMINATION
 3.BAS[S(ES):      RACE          O   RELIGION tr NATIONAL ORIGIN                                                                                                                          M
                                            SDecifo rour race:                               Soecifo vour rcliqion:                                Soccifv rour National Oricin:
 Check box(es) nsxt to gEU the
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 this complaint.
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 definitions.


REPRISAL                        SI         AGE                                N              DISABILITY                               8I          SEXUAL ORIENTATION                      tr
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                                                                                               SEmE   dt8btrlr6   stoted   h   pnbr
Prior Formal EEO Complaint                                                                    FormJ EEO complalnl Mental
eo1&oo14l                                                                                     Vertlm endMhEna
                                                                                                The employment relatod matteru thst ar€ generally tracked under g l614
4. ISSUE(S)        Emptoyment Related Matrer(s)                                                 regulationr rnd the'No Fear Act" are listed below. Refer to instructions
                                                                                                br further dcfinitions.
o    Appointrnent/Hire                                          o    Evaluation/Appraisal                                             o       ReasonableAccommodation

o    Aseignment of Duties                                      o     Examinatioo/Test                                                 o       Reinstatement

s    Awsrds                                                    /     Hrrassment/Non-sexual                                            o       Retiremcnt

o    Conversion to Full-time                                   o    Harassnent/Sexusl                                                 o Termination                       O,q-}- -
o    Disciplinary Aotion - Demotion                            o    Medical Examination                                               /       T.rm   and Conditions of Emptoymenr
                                                                                                                                                                                     (
o    DisciplinaryAction - Rcprimand                            o    Payllncluding Ovcrtirrre                                          r: Time & Attendance

o Disciplinary Action - Suspension                             o    Promotion/Non-sel*tion                                            o    Training

o DisciplinaryAction - Removal                                 o    Reassipmeot/denied
                                                                                                                                  #.gllffi*          condllone rebtod to mv ForA teduesr.
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                                                                                                                                  omployrngrl l€forenca cned<r, refugal b rernovo
o Duty Hours                                                   o    Reassignrnent/directed                                        llgmatts snnotalod m my SF.50. Hafttssnant durlno OEO
                                                                                                                                  and Offlca of Leoal      Cilrft€l hhractbn
s. DATE(S) ON WHICE TrrE DISCRIMINATION rS ALLEGED TO IIAVE OCCURED,
                               includlog the mort recent dtte thet dlscrtrrlnatlon took plece:

6.   EEOC OFFICE            Where the Alteged Dircrtmtnarion occurred:
                                                                                               NAME & TITLE OF                            I   TVOLYED MANAGEMEM
                                                                                               OFFICIAL (If            Known):
                               ot Equar opporrudty.   ofice   or Legar councel and   o,lcc        Jullanne Bowman (Direcbr); Stephanie Gamer, Klmberly Hall, Leona Clark,
  3i,trffgffiffi631*                                                                              Unknown Name (Director hom the Off,ce ol lnbrmatioo ?edrnology.

EEOC FORM 429 @evlsed 08/2009)                           PREVIOUS EDITIONS OF T}IIS          rcRM ANA OBSOLGTE AND SHOI'LD                     NOT BE USED               page   I of2 pages
             Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 10 of 104 PageID #:157


                                                                                                                   Use tho space below          to   provido     a   brief
  7,      STATEMENT OF CLAIM(S): [n              accordance with 29 CFR g 1614.106(c), tho                         statement of your claim(s). Refer to the
  claim(s) "must bc sufficiently preciso to identifu the aggrieved individual and the agency                       instructions in the addendum for additional
  and to desoribe generally the action(s) or practice(s) that form the basis ofthe complainL,'                     information      on framing a claim of
                                                                                                                   discrimination
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                                                                                       Use the space below to describe what you aro seeking to resolve the
 8. REMEDYREQUESTED
                                                                                       claim(s) in your complainl

       $ 500, 000. oo

 9. I HAYE DISCUSSED MY COMPLAINT                                 WIfiI     AN EEO COUNSELOR

       (a) Date of Inirial Contact:                                                    November 16,2018

       (b) Name of EEO Counselor:                                                      Beeanna Swain and Leona Clark

       (c)   Date you received the Notice of Right to Filo a
                                                                                       January 19, 2019
       Discrimination Cornplaint:

 10. HAVE YOU FILED TIIE CLAIM(S) RATSED IN TIIIS COMPLAINT IN ETTHER:                                                           If yes, indicate date filed in
                                                                                                                                 space below.

       (a) A Merit    Systems Protection Board Appeal?                                                            No,5           YES    E
       (b) A negotiated grievance?                                                                                NOX            YES    O
 ll.     COMPLAINAITITTS
                                                                                                                                 DATE
         $IGNATURE:

                          I   have   rud the Privacy Acl Stalement below and reviewed the complainl, I declare, under penalty                of
                                     Perjury thqt, to the best ofny knowledge and belief,, theforegoiag is true and correcl.

PnTvIcy ACT STATEMENT

*'[jli|   #"Y'3*"1-]iT 3ffii#"',3",'$;*r3litjltfl.Y                            i;t     (6)-discrosing inrormation to atare or rocar bar assooiations or di*iprinary
                                                                                                                                          against attorneys rcgarding
Reg. 1053(Jen. lgTg);andtheNoFearAclp.L. \W-fi;:'                                      ,t_q:t-"tcomminees-investigatingcornptaints
principrt purposes.                                                                                         of a party in a judioial or administrativc proceeding; (7)
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                                                                          investigatory purposes; (8) disclosing information to employees of
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settlemenr of a grievancs comptaint, or appcat fitrd b).;;;;fiiJi'tii     s,]^P;t                     and failure to sisr tho oomplainl mav rcsult in
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administrative proceeding;
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EEOC FORM 429 (Revlsed               0ln0(D)             pREvrous EDrrroNs oFrHrl FoRM ARE oBSoLETE AND sHouLD Nor BE          rrsF.n             mse 2 of
   Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 11 of 104 PageID #:158


      NAME        :   GONZALEZ, Elizabeth
      SSN :l-
                                           BEPORT OF INVESTIGATION
        SUBJECT:              GONZALEZ, Elizabeth                                     DATE:      April9, 2018
       AKA:                   N/A                                               CASE NO:




      ryPE OF INVESTIGATION: Tier 5
      CoRRECTED:             fI
      SUPPLEMENTAL: X
      DTSCONTINUED CASE:                   fI
                                     SYNOPSIS OF LEADS ADDRESSED BY ROI
             I.           SUBJECT INTERVIEW:            See ROlComments
            II.           EDUCATION:                    N/A
            III.          EDUCATION REFERENCES:         N/A
            IV.           MILITARY SERVICE:             See ROlComments
            V.            MILITARY REFERENCES:          N/A
            VI.           EMPLOYMENT:                   See FlOl Comments
            VII.          EMPLOYMENT REFERENCES:        See ROlComments
            VIII.         UNEMPLOYMENT:                 See ROlComments
            IX.           LISTED REFERENCES:            See ROlComments
            X.            DEVELOPED REFERENCES:         See ROI Comrnents
            XI.           RESIDENCE:                    N/A
            XII.          RESIDENCE REFERENCES:         See ROlComments
            XIII.         LOCAL AGENCY CHECK:           See ROlComments
            XIV.          COURT CHECK:                  NiA
            XV.           FORMER SPOUSE:                NiA
            XVI.          MEDICAL RECORDS               N/A
            XVII.         MEDICAL INTERVIEW:            See ROI Comments
            xvlll.        oTHER:                        N/A
            XIX.          ATTACHMENTS                   N/A
            XX.           CONFIDENTIAL SOURCE:          N/A
All witnesses interviewed were advised of the Privary Act ot 1974 as it applies to disclosure of their identity as a source of
information to the person under investigation. All individuals providing inlormation lor lhis Report of lnvestigation (ROl) were
interviewed personalty unless othenr/ise indicaled. Their applicable comments about Subject's character, reputalion, integrity,
emotional stability, associates, byalty and suitability for employment, position of trust or acc€ss to classilied information are
included in the appropriate BOI section.

 APPROVED BY:                                                                      Date: April9,2018
                                                ffi
                        Department of Homeland Security, Bureau of Customs and Border Proteclion
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 12 of 104 PageID #:159


    NAME : GONZALU,      Elizabeth
    SSN     ,II




   EMPLOYMENT
  9. U.S. EqualEmployment Opportunity Commission (EEOC), 500 W., Madison St.,
  Chicago, lL, lnformation lntrake Representative, from June 19, 2014to November 25,
  2015, Subject resigned, is eligible for rehire; annualsalary of $35,005 was paid bi-
  weekly. There were no derogatory or disciplinary issues on file. Records were
  personally reviewed.


  This investigator met with Yolonda Tanks in private location and reviewed her personnel
  file. Tanks advised thls lnvestigator that Subject was stillwith TSA on a part-time call-in
  basis;however, Transportation Security Administration (TSA) and EEOC are in no way
    Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 13 of 104 PageID #:160


        NAME : GONZALEZ,     Ellzabeth
        ssN     :lII
        related. Tanks was not able to provide information regarding Subject's TSA former
        federal employrnent. [February 22, 20   1   8ry
        EMPLOYMENT REFERENCES
        10. Attempts to obtain employment references for Subjecfs employment with EEOC

        came back with negative'results. During this investigato/s canvassing of employment,
        listed supervisor, Tyrone lrvin, and listed c'oworker, Jose Romot were not on-site, but in
        mediation. Cards were lett for both references with Yolonda Tanks who stated she
        would pass them along. As of March 13, 2018, this investigator has nol received a
        response from lMn or Romo. Subject was contacted and advised she was not able to
        provide any additional leads or sources regarding this employment. [February 22,
        March   13,2018Jry


I       emllovlrtENr-
        11. United States Deparment of Homeland Security, Transportation Security Officer,




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Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 14 of 104 PageID #:161


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   Novenrber 24,2A14


   ElizEbeth Gonzalez
   E-mail : IAKE-ttdAT97@ttOTIvtAIL. com



   DearElizabeti,

   Congmnrlations or, )our selection and appointmentto the position of Informa0ionlntake
   Representative (trR) BilhguaySpanfuh (GS l80a Crade 5, St€p I) with ar atrrrtrd salary of
               This is a Creer Cooditional appointment, which carrics a orc-ycar probdionsry pcrid.
   Your duty station is the EEOC's Chicago Difiict Ofiice, locatcd at 500 West lvladisoa Stred,
  -Suite 2000, Chicago, IL. I am delig[tcd 1ou are joining orr Chicago   sffi  Your role will be
   critical to firtfilling the mission ofour Aepnoy and the Chicago Distia Office.

   Your appointment to this positiotr is effective December 1,2014, aod is subj€ct to the
   satisfaotory oompletion of a bac&ground in'rutigdion, which began with pur completioa ofthe
   Declaalion of Federal Emplofrrnent, OF 306.

  On Monday, Deoember       l, orientation wi[ begia a 9 aor. Please cheok in with the hilding
  receptionist on l-€vel 3. You will be is$ed a temporary badge granting you access b our office.
  Wheo 1ou arrive on tbe 20& floor, please ask the EEOC receptionist for Debra Remember to
  bring a photo ID or driver's licsose and originat social smrrity card or birth c€rtificate.
  Alte,rnatirrely, you may briag your U.S. Passport

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Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 15 of 104 PageID #:162




   Tlte EEOC tean is here to support your trangition. AIthoWh you will be assigned a'tuddy'' or
   "mentor," please know we are all here to assist you as Jrou bqgin ]ronr emplopreot withthe
   EEOC. We look forward to welcoming you ad ue pleased that you have selected the EEOC iw
   loureryloyer,
   Sincerely,

   tfune tWmat
   Iulianne Bowman
  Disaic Director (Acting)

  JBldws

  Attachmeut (I)   -'Know Your EEOC
         Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 16 of 104 PageID #:163




                             APPOI NTM ENT AFFI DAVITS

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                                                                                                   (Date Appointed)
         (Position to tvhich Appointed)




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        t,     \tizab*k                   Go^ Zal'Lz                                          ,   do solemnly swear (or affirm) that--


         A. OATH OF OFFICE
                  support and defend the Constitution of the United States against all enemies, foreign and domestic;
              I will
         that I will bear true faith and allegiance to the same; that I take this obligation freely, without any mental
         reservation or purpose of evasioi-r; and that I will well and faithfully discharge the duties of the office on which
         I am about to enter. So help me God.

        B. AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT
           I am not participating in any strike against the Government of the United States or any agency thereof,
         and I will not so participate while an employee of the Government of the United States or any agency
         thereof.

        C. AFFIDAVIT AS TO THE PURCHASE AND SALE OF OFFIGE
             I have not, nor has anyone acting in my behalf, given, transferred, promised or paid any consideration
         for or in expectation or hope of receiving assistance in securing this appointment.




                                                                                                             (Signature of Appointee)




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        Commission expires
         (lf by a l.lotary Public, the date of his/her Commission should be   shov/n)                                 (Title/

                                                                                                                              pursuant to the
        Note - lf the appointee obiects to the lorm of the oath on religious grounds, certaifl modiflcations may be permitted
        Religious Freedom Restoratton Act. Please contacl your agency's legal counsel for advice.




                                                                                                                                Standard Form 51
U.S. Office of Personnel l,lanagement                                                                                           Rev[sed Augusi 2002
The Guide tc Processing Perscnnel Actrons                                                          NSN    7540-0&634-4015       Previous editions not usatlle
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Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 18 of 104 PageID #:165


                             u.s. EQUAL EMPLOYMENT OPPORTUNTTY COMMISSTON
                                            Washington, D.C. 20507
                                       oFFICE O[' EQUAL OPPORTUNTTY


                                                  May 6,2019

 Email: eljzabeth-gonz2@hotmail.com
 Ms. Elizabeth Gonzalez
 5944 S. Tripp Avenue
 Chicago, IL 60629

           RE:        Notice of Dismissal
                      Elizabeth Gonzalezv. Yictoria Ltpnic, Acting Chair, EEOC
                      EEO Complaint No. 2019-0AD

DearMs. Gonz.alez:

This Notice refers to Complainant's formal complaint of discrimination filed on March 2,20L9 with the
Office of Equal Opportunity (OEO). In your amendment to your complaint you allege that the Equal
Employment Opportunity Commission (hereafter "Agency") has subjected you to discrimination on the
basis of reprisal (prior EEO complaint) when:

     1.   On or around January 5,2016, the Agency included the reason for your resigrration on your
          Standard Form 50.

    2. On or around April 6,2018, you learned that the Agency provided incorrect informationto the
          United States Customs and Border Protection (CBP) background investigator that negatively
          affected your ability to secure employment with CBP.

    3. On unspecified dates, up to and including October 2018, the Agency mishandled your Freedom of
          lnformation Act (FOIA) requests; and

    4.    In October 2018, the Agency denied your most recent FOIA request.

It is also important to note that in your February 2,2019 email, you assert:

          Also,   I   have just discovered and realized thal I was given false and misleading
          information    when I was issued the Final Agency Decision (FAD.) The Office of Equal
          Opportunity failed to advise me of my rights and give me an opporhrnity to file an appeal
          with the Office of Federal Operations but instead tried misleading to file an appeal with
          the Merit Systems Protection Board in order to miss the deadline and jeopardize my case.
          This was a malicious intent. (Please See Final Agency Decision and the Supplemental
          Report for further details.)

          Therefore, since I have just realized this; I would like to amend my complaint related to
          EEO Case Number: 2019-0012 and would like the additional claims to be added to the
          above mentioned EEO complaint (2019-0012.)

                                                 DISIUISSAL

After reviewing Complainant's complaint (as amended) in its entirety, I have determined that the above-
referenced claims must be DISMISSED as discussed below.
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 19 of 104 PageID #:166

 Gorzalezv. EEOC
 EEO Complaint No. 2019-0012
 Notice of Dismissal

 A.   Failure to State a Claim    - Claim I
 Pursuant to 29 Code of Federal Regulation (C.F.R.) $ 1614.107(a)(l):

          [A]n agency shall dismiss an entire complaint that fails to state a claim under $ 1614.103
          [protected bases] or $ 1614.106(a) [filed with the agency that allegedly discriminated
          against the complainant].I

 1. SF-50 Recording Complainont's Resignation

 You claim that that the Agency discriminated against you when it included the reasons for your
 resignation on your SF-50. The Offrce of Personnel Management's (OPM) guidance on processing
 personnel actions provides in pertinent part:

          4. Documenting Reason(s)        for Separations

          A. Need for Remerks. Most of the actions in this Chapter require remarks that
          document the reasons for the action. The remarks are used to determine future
          employment eligibility and eligibility for various benefits, including unemployment
          compensation. When a former employee applies for unemployment compensation, the
          State employment security agency will use the nature of action and the remarks to
          adjudicate the claim. lnadequate or incomplete information about the separation may
          result in delays or errors in processing such claims.

         B. Employee's Reason for Resignation

         (l) Each person who resigns should be asked to do so in writing. Part E of the Standard
         Form 52 is one option for submitting a written resignation. When the employee resigrs
         orally, try to obtain written confirmation. If this is not possible, ask the person who
         received the oral resignation to document it in a memorandum for the record.

         (2) Iu the remarks section of the Standard tr'orm 50. ouote in full the emolovee's
         reason for resisnins. If the employee's reason is so lengthy that it will not fit in the
         space available, summarize it. The entire reason will remain a matter of record because
         the resignation is a long term Official Personnel Folder document. @mphasis added)

OPM, Guide to Processing Personnel Actions (GPPA) (March 2017) Chapter 31, Separations by Other
than Retirement (Natures of Action 312,317,330, 350, 351,352,353, 355, 356,357,385, and 390)

In detErmining whether a complaint states a claim, the proper inquiry is whether the conduct if tnre would
constitute an unlawful employment practice under the EEO statutes. Cobb v. Depl. o/ the Treasury,
EEOC Request No. 05970077 (Mar. 13, 1997) (a complaint should not be dismissed for failure to state a



I [a other words, if a complaint doas not allege discrimination based on one of the protected bases that is covered by
Title VII and within the EEOC's jurisdiction (i.e., race, color, religion, se:r, national origin, agq sex-based wage
discrimination, or genetic information), or if a complaint is not filed with the Agency that ultimately would bc liable
for discrimination against the complainant, OEO must dismiss the entire complaint.
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 20 of 104 PageID #:167


  Gonzalez v. EEOC
  EEO Complaint No. 2019-00t2
  Notice of Dismissal

  claim unless it appears beyond doubt that the complainant cannot prove a set of facts in support of the
  claim which would entitle the complainant to relief).

  The Agency approved the SF-50 which records your resignation on January 5,2016. Your resignation
  letter was copied in its entirety and inserted into the SF-50 in compliance with OpM guidance on
  processing personnel actions. The OPM guidance requires that the SF-50 document the reasons for an
  employee's resignation.

 In essence, you allege that your stated reason forresigning that you provided to the Agency for inclusion
 in the SF-50 is negatively affecting your ability to secure employment. We note that the Agency took no
 discretionary or other actio,n when completing the subject SF-50; in other words, the Agency merely
 performed the ministerial function of including your reason for resigring verbatim in the SF-50 as
 prescribed by OPM. .9ee GPPA Ch. 3l g 48, supra.

 Because the Agency's alleged conduct does not constitute an unlawful employment practice under the
 EEO statutes, in accordance with 29 C.F.R. $ 161a.107(a[1), Claim I is hereby DISIVtrSSED.

 B. Untimelv claims - Clsims I      and 2

 Pusuant to 29 C.F.R. $ 1614.107(a)(2), an agency shall dismiss a complaint where the Complainant fails
 to comply with regulatory time limits. An aggrieved person is required to make contact witha Counselor
 within 45 days of the matter alleged to be discriminatory pusuant to 29 C.F.R. g 161a.105(a)(l). you
 did not initiate contact with an EEO Counselor until November 16, 2018, which is more than eight
 months after the most recent of the discriminatory events alleged in claims I and 2 above.2

 The Agency applies a "reasonable suspicion" standard to trigger the date for determining the timeliness         of
 the contact with the EEO Counselor. Under this standar4 the time period for contacting an EEO
 Counselor is tigged when you should reasonably suspect discrimination, but before all the facts to
 support a charge of discrimination may have become apparent.

The SF-50 you provided shows that it was approved on January 5,2016. Thus, on that date, or soon after,
you should have been aware of the contents of your SF-50 and the resignation remarks. Similarly, in an
email from you, dated April 6, 2018, to the CBP investigator included in the documentation that your
provided, you discuss the incorrect information provided by the EEOC (specifically, the Agincy
purportedly told the CBP investigator that you began employrnent at EEOC as an intern). Yet, you aia
not contact the Office of Equal Opporhrnity regarding this issue until November 16, 2018.

The undersigned finds that the Agency's approval ofyour SF-50 on January 5,2016 and your awareness
as of April 6, 2018, that the Agency provided alleged false information to the CBP background
investigator evinces a reasonable suspicion of discrimination; not later than April 6,2018, you should
have suspected that the Agency had subjected you to discrimination in these matters. Therefore, in
accordance with 29 C.F.R. $ 161a.107(a)(2), Claims 1 and 2 of EEO Complaint 2019-OOLZ are hereby
DIS1UISSED.




2 Complainant's initial contact was 1,046 days &om the
                                                        January 5,2}l6,the darc the Ageucy approved her SF-50.
Further, her initial contact wu244 days from April 6, 2018, the date she became aware that the Agency made
allegedly false statements to the CBP background investigator.
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 21 of 104 PageID #:168

  Gonzalez v. EEOC
  EEO Complaint No. 20 l9-00 I 2
  Notice of Dismissal

  C. Collateral Atteck- Claims 3 and 4

  1. FOIA Request

  You allege that you made numerous FOLA requests on unspecified dates and that the Agency mishandled
  your FOIA requests by (1) changing the terms and conditions under which you *" abh to make FOIA
  requests, (2) charging you high fees to process your request, and (3) falseiy advising you that
                                                                                                  certain
  information you requested was available on line. In addition, you ailege ttrat your iost recent FOLA
  request was denied.

        Agency has a prescribed process for availability of Agency records in C.F.R. part 1610 (FOIA).
 lhe
 Pursuant to 29 C.F.R. g 1611.10:


          [A]   requester may appeal any adverse determination       to the Legal Counsel, or t]e
          Assistant Legal Counsel, FOIA program.

 Thus, the proper forum for you to raise a challenge to the Agency's actions which occurred during the
 FOIA process is with the Agency's office of Legal CounsLl oi tne Assistant Legal Counsel FbIA
 Program (and not the Offrce of Equal Opportuniry) . See Jae v. t1.9. Postal Serv., EEOC Appeal No.
 012A17 ft32 (July 14, 2017).

 2.   Sf'-50 Recording Complainant's Resignation

The Agency approved the SF-50 which records your resignation on January 5, 2016. your resigration
letter was copied in its entirety and inserted into the SF-50 in compliance with OpM guidaice on
processing personnel actions. As discussed abovg OPM's gui4ance requires that the SF-50 dtcument
                                                                                                 the
reasons for an employee's resignation. Thus, the proper forum for you to raise a challenge to these
actions that ocourred pursuant to OpM,s guidance is with OpM. Id.

3. Analysis

The Commission has held that an employee cannot use the EEO complaint process to lodge a collateral
attack on another proceeding and that a collateral attack fails to state a claim. See Wills_v.-Dep,t of Def,,
EEOC Request No.                (July 30, 1998); Kleinman v. U.9. Postal Serv., EEOC niqueit No.
                     !S-eZOf96
05940585 (Sept. 22, 1994); Lingadv. IJ.S. Postal Serv., EEOC Request No. 05930106 (June Z5,1gn).
A claim that can be characterized as a collateral attack, by definition, involves a challenge to another
        proceeding such as the gnevance process, the workers' compensation process, an iniemal age,ncy
lorum's
investigation, and state or federal litigation. See Fisher v. Dep't o! Defense, pboC Requesl No.
0593 1059   (Iuly 15, 1994).

lhe proper forum for Complainant to have raised her challenges to actions which occurred during the
FOIA process was at that proceeding itself. Likewise, the proper forum for Complainant to challengi the
OPM requirement to include tle reason for her separation on Ler SF-50 is wittr Optr,t. It is inapprolriate
to now attempt to use the EEO pnocess to collaterally attack actions which occurred during tire iOn
process or based on guidance from OPM.

Accordingly, Claims     l, 3 and 4 are hereby DISMISSED     as a collateral attaclq or challenge to another
forum's proceeding.
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 22 of 104 PageID #:169

     Gonzalezv. EEOC
     EEO Complaint No. 20194012
     Notice of Dismissal

                                            SPINOFF COMPLAINTS

     Complainant has raised two claims regarding the processing of her EEO complaints. First Complainant
     asserts that she has been subjected to discriminatory animus by the OEO Director and EEO Specialists
     during the informal complaint processing of EEO Complainant No. 2019-0012. Complainant alio asserts
     that she has recently learned that OEO staffmaliciously mislead Complainant with iniormation regarding
     an MSPB appeal for the purposes of causing Complainant to miss the timely filing of her appeal of fgO
     Complaint No. 2016-0014 with the Office of Federal Operations (OFO).

    Pursuant to 29 C.F.R. $ 161a.107(a)(8), complaints about the processing of existing complaints should be
    dismissed and referred to the agency official responsible for complaint processing and/or processed as
    part of the of the original complaint. In accordance witb Management Directive (MD) 110, Chapter 5,
    Section IV.D., the agency official must eamestly attempt to resolve the dissatisfaction and proride an
    explanation for acting (or failing to act) with respect to the dissatisfaction.

    Claim No. l: In Complainant's November 28, 20i8 email to the OEO Director, Complainant asserts that
    the EEO Specialists used intimidating actics to interrogate her and were seeking information that
    Complainant believed was irrelevant to EEO Complaint No. 2019-0012. Complainant asserts that both
    Specialists used demeaning tones of voice, were unprofessional and argumentative, thereby higgering one
    of her medical conditions and causing Complainant to have an anxiety attack. Complainant stateJ that
    because of the anxiety attiack, she raised her voice and believes that the behavior of the Specialists was
    malicious and intended to discourage Complainant from proceeding in the informal complaint process.
    Complainant then states that a follow up telephone call from the OEO Director further eiacerbated her
    condition by raising her voice at Complainant and demanding that Complainant not intemrpt the OEO
    Director. Complainant    states that she asked that OEO Director to refain from contaciing her by
    telephone.

    Analysis: Because Complainant named the OEO Director        as a party in her statement of dissatisfaction
    and harassment with respect to the informal complaint process, the OEO Director recused herself from the
    process and requested that the undersigred complete an investigation of Complainant's assertions.

It is important to note the Complainant's recitation of events sigrificantly differs ftom those of both EEO
SpeciSlists and the OEO Director. First, both EEO Specialist Beeanna Swain and Attomey-Advisor Leona
Clark3 assert that from the outset of the interview, Complainant was suspicious of the process did not
believe the information provided to her by both Misses Clark and Swain and most specifically, refused to
answer pertinent to the possible resolution of her complaint at the lowest possible level. Both Misses
Clark and Swain firttrer affrm that Complainant became increasingly belligerent and began yelling
angily at them in such a manner that they determined that the best course of action was to end ttra
interview. Both reported that Complainant repeatedly attempted to direct the counseling process,
informing them what she was and was not going to do or provide. As a resulg both immediately informed
a Senior EEO Specialist who advised the OEO Director of the difficulty that had with the interview and
the inability to obtain information relevant to the complaint.

The OEO Director afftrms that this same information was conveyed to her by Misses Clark and Swain.
As a result, the OEO Director called Complainant. The OEO Director affrms that upon speaking with the
Complainant, the Complainant informed the OEO Director that the Agency was attemprting to
impermissibly record Complainant for the Offrce of General Counsel by having Complainant on speaker

3
 At the time of Complainant's complaint, Ivts. Cla* was a Legal Inte,rn with OEO. IvIs. Clark was hired   as an
Attorney-Advisor with OEO in February 2019.
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  phone. The OEO Director states that she explained to Complainant that she was
                                                                                not being recorded but
  was placed on speaker phone so that both women could heai her and type Complainant's responses
                                                                                                 while
  listening to Complainant. The oEO Director also states that when she attempted to explain
                                                                                                           to
  Complainant why questions were being posed and that Complainant must answer the questions
                                                                                                    if she is
  attempting to resolve the issue and to explain why she believes her current complaint ii in retaliation
                                                                                                          of
  the prior complain! the Complainant began aggressively speaking over tle oEO Director,
                                                                                                demanding
  that the OEO Director provide her with written information .rgarOing the process. When the
                                                                                                       OEd
  Director informed her that the information is provided during ttri counseling p.oce.s and can also
                                                                                                          be
  located online, Complbinant loudly demandid that the             oEo Directo. pioiia" her with the cite
  information. The OEO Director states that when she provided Complainant with the cite information
                                                                                                       and
  began to recite the language relevant to this issue, Complainant became even more
                                                                                     belligerent and loud,
  that even without being on speakerphone, the Equal Opportroity Assistant that was pissing
                                                                                                 the OECj
 Director's office stopped at her doorway and asked if iverything was okay. fhe obO Director
                                                                                                      told
  Complainant that if Complainant continued to yell at and interruptihe OEo 6irector, they would
                                                                                                    not be
 able to address Complainant's concems and that Complainant would not be allowed io talk
                                                                                             to OEO stalf
 in suoh a manner- At that time, Complainant stated hir disability caused her to talk loud and sometimes
 ag-gressively. The OEO Director asked Complainant whether strl traC informed Misses Clark
                                                                                                and Swain
 of her disability and that she needed an accommodation. Complainant again intemrpted the OEO
                                                                                                  Director
 and Ioudly stated that she had not so informed Misses Clark and Swain and the CifO
                                                                                        nirector was also
 exacerbating her disability. In response to this statement, the OEO Director informed Complainant
                                                                                                      that
 she was ending the call and that all further communications with Complainant with respect
                                                                                                   to her
 complaint would be made via r:rritten correspondence.

 It is also important to note that Complainant appears to be mistaken regarding the informal complaint
 process, which has a primary goal of resolving complaints at the eJliest
                                                                                   [ossible level, Second,
 Complainant raised a complaint of retaliation, qpecifically asserting that the retaliation was
                                                                                                based on her
 qrjor EEo complaint, but refused to answer questions ielevant         ti
                                                                        tfr" prior complaint. Management
 Directive    (l"D)   110 Chapter 2, Section   Itr   dJscribes among the roles of   .6po*iUitities of an EEo
 Counselor:

 3.      Conduct a limited   inqurry during the initial interview with the aggrieved individual for the
        purpose of determining jurisdictional questions. This includes Oeteniiiing whether
                                                                                             there may be
        issues relating to the timeliness of the individual's EEO Counselor -contact and obtaining
        information relating to the issue. This also includes obtaining enough information concerning thi
        claim(s) and basis(es) so as to enable the agency to proper[ldentift the legal claim raised if
                                                                                                       the
        individual files a complaint at the conclusion of-the EEO counseling
                                                                             irocess. (Information
        gatherer)

Mo*ou"r, MD-l10 Chapter 2, Section V       states in part:

        The EEO Counselor must at all times control the inquiry. If the aggrieved person or agency
        personnel raise objections to the scope or nature ofthe inquiry tne I]-fO Counselor
                                                                                            shall seel
        guidance and assistance from the EEO Director. If the rdo bounselor has problems with
                                                                                                   the
        inqurry, s/tre should immediatelynotify the EEO Director.

Agcordingly, we find tlat the oEo
                                     {aq performed their duties in according to the regulatory guidance
which supports ttre EEO process. We find that Complainant misunderstood-the role oithe EEO
                                                                                                 staffin
t!9 information complaint process, erroneously belibved that she was improperly Ueing recorded and
failed to notift the OEO staffthat she needed an accommodation. Once Compiainant informed the
                                                                                                   OEo
Director of her disability, the OEO Director that no further direct telephon. ,oro**ication be held with
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  Complainant in an effort to assure that Complainant's disabilify was not exacerbated while still providing
  the neuffal and objective counseling of Complainant's claim.

 Claim No.2: In Complainant's March 2,2}lg, email to various Agency leadership, including the OEO
 Director and Deputy Director, Complainant asserts that she recently-learned that OEO maliciously failed
 to advise Complainant of her rights and give Complainant an opportunity to timely file the appeai of her
 Final Agency Decision (FAD) with the Office of Federal Operations. Specifically, Complainant ass€rts
 that OEO staffmaliciously provided Complainant with information regarding filing an appeal with MSpB
 in an effort to cause complainant to miss her timely filing her appeal wittr oFo.

 Analysis: We find that Complainant's assertion has no merit. First, Complainant timely filed her appeal
 of the FAD of EEo Complaint No. 2016-0014 with oFo on December 7,rol7. Second, in the Agency's
 Motion in opposition to Appeal, dated January 19, 2018, the Agency addresses this issue, rpe"'in"utty
 explaining in its frst footnote:

         on January      17r 2018, while preparing this Motion in opposition to Appeal, the
         Agency discovered that     it incorrectly referred to the instant case as a *mixed case
         complaint" in the FAD and inadverten0y provided Appeflant with appeal rights to
         the MSPB (and not to the Commission). Because Appellaut was terminated during
         her probationary period, the MSPB does not have jurisdiction over an appeal from
         this FAD. And because Appellant's termination is not appealable to the tUspn, tnis
         is not [sic] mired case; thus, the Agency should have instructed Appellant to file her
        appeal with the Commission, See 29 C.F.R $ 1614302(a)(defining a mixed case
        complaint as a complaint based on race, color, religion, ser, national origin, age,
        disability or genetic information related to or stemming from an action that can be
        appealed to the MSPB). Notwithstanding the Agency's inadvertent error, Appellant
        located the correct appeal form published at Appendir p to the Agency's tto-rro
        and timely submitted her appeal with her supporting statement to the Commission.

It is important to note that Complainant originally received the Report. of Investigation on July Lg, 2A16.
At tha! time, Complainant was provided the correct appeal infornation with iespect to thi Oflice of
Federal Operations. After Complainant requested and received a supplemental investigation of EEO
Complaint No. 2016-0014 in December 2017, she was mistakenly p.wiaea the incoreit information.
OEO's original submission of the correct appeal information, coupied with OEO's explanation of the
procedural error, does not support Complainant's assertion of malicious intent. Moreover, Complainant,s
time{ filing, coupled with her receipt of the original appeal information also conhadicts Complainant's
assertion that she only recently became aware of the funproper filing information and alleged
discriminatory animus by OEO.

Accordingly, we find that Complainant has not provided any evidence to support either her assertion of
rygllcious intent by OEO or her lack of knowledge of the procedural enoi putrticty acknowledged by
oEO in the Agency's Motion in Opposition to Appeal more than one year prior to Complainant's iurrent
assertion' We find that the Agency readily acknowledged its error and Complainanf timely filed her
appeal and thus was not disadvantaged by this admitted Agency error.
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                                         STATEMENT OT RIGIITS

  comp.lainant's appeal rights are exprained in detair in the
                                                              enclosurB. Please note that there are time limits
  for filing. anappeal.            have  any  questions   o.            please contact the Office of Equal
                         _-IlVou
  Opportunity at Q02) 663 -7 O8t .                            "on"*r,




                                                            Office of Equal Opporrunity



         Appeal Rights
         Form 573

         Nicholas Inzeq Director
         Office of Field Programs (OFp)

        Martin Ebel, Director
        Field Management Programs, OFp

        Julianne Bowman, Director
        Chicago District Office
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                                       CERTIF'ICATE OT MAILING
  I certiff that   a copy   ofthe Commission's Notice of Dismissal with Complainant,s
                                                                                      appeal.ights
  was mailed via electronic mail and certified mail to
                                                       Complainant Elizabeth Gonzalez at the
  following addresses:

                                           Elizabeth Gonzalez
                                           5944 S. Tripp Avenue
                                           Chicago, IL 60629
                                           elizabeth


        {/e/tq
         '-4"-
 Date               t
                                                 Opportunity


 Certified Mail Receipt No. 7004 I160 0001 t63L 6043
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                      OFFICE OF FEDERAL OPERATIONS
            U.S. EQUAL EMPLOYMENT OPPORTUMTY COMMISSION
                               P. O. Box 77960
                           WashinEon, D.C. 20013

 Elizabeth Gonzalez                            OFO File   No: 2019003329
 Complainant,
                                               EEOC Case No: 201,9-0012

                                               Date: June 8,2019

 Victoria A. Lipnic, Acting Chair,
 U.S. Equal Employment Opportunity
 Commission,



                          COMPLAINANT APPEAL BRIEF

        I hereby submit a brief in support of my   appeal, which was filed on May 9,2019
 on the above referenced matter.

        On May 6,2019 the U.S. Equal Employment Opportunity Commission, Offrce          of
 Equal Opportunity issued its Notice of Dismissal.

        I hereby submit evidence   as below and attached documents which was already
 referenced during the EEO counseling, correspondence and supporting
documents/evidence I submitted to the Offrce of Equal Opportunity.
The Offrce of Equal Opportunity failed to adhere to the laws and failed to accept my
claims, investigate my claims, failed to correct my claims, failed to allow me to engage in
the EEO process, failed to address my concerns and issues.

        I allege that the U.S. Equal Employment Opportunity Commission and the Office
of Equal Opportunity have continued to discriminate against me based on my national
origin (Mexican), disability (major depressive disorder, suicidal ideation, depression,
anxiety disorder, vertigo and migrainosus - migraine headaches), sex (female, single
mother, domestic violence situation), denied reasonable accommodation and in retaliation
for my prior EEO activity (EEOC Case No: 2016-0014); all of which I claimed as a bases
in my previous EEOC case (Case No: 2016-0014.)

    o   On November 28,2018; I received a telephone call from Ms. Beeanna Swain,
        Equal Employment Opportunity Specialist to conduct the initial EEO Intake
        interview; Ms. Swain had me on speakerphone. I kindly asked Ms. Swain to take
        me otl speakerphone and she refused stating that there was someone else in the
        room and her name is, Ms. Leona Clark.
        I asked her what role did IVIs. Leona Clark have with my initial EEO Intake
        interview. Ms. Leona Clark told me that she was the "collateral counselor". I have




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       never heard of that title and confused as to her role and why she was listening in
       during the initial EEO lntake interview.
       After repeated requests for her to remove me from speakerphone; my anxiety
       levels started to rise. I believe that I was being audio recorded without my consent
       and both, Ms. Swain and Ms. Clark refused to remove me from speakerphone
       after several requests. That alone is a violation of the law.
       Furthermore, Ms. Clark and Ms. Swain used intimidating tactic's to interrogate
       rne and were fbrcing me to provide them with the specific details of my prior
       EEO complaint, which I believe is irrelevant to the retaliatory complaint I
       recently filed and the subject matter of the EEO interview. By both their
       demeanor and actions, I was certain that both Ms. Swain and Ms. Clark had
       reviewed my prior EEO case (Case No. 2016-0014 ) Ms. Swain and Ms. Clark
       used a demeaning tone of voice, unprofessional and were very argumentative as a
       form of harassment while forcing me to provide information related to my prior
       formal EEO complaint. Their actions triggered one of my medical conditions and
       I had an anxiety attack. I informed them of my medical conditions but they were
       dismissive.
       During the interv'iew; my anxiety attack worsened and it triggered me to raise my
       voice. I strongly believe that their actions and interrogation tactics were malicious
       and with the intent to discourage me and prevent me from proceeding with the
       informal complaint and to prevent me from filing a formal EEO complaint.

       Furthermore, later that day; I receivecl a telephone call fi'om Ms. Erica White-
       Dunston, Director, Office of Equal Opportunity. I couldn't understand why Ms.
       Dunston had called me and couldn't understand her role in my initial EEO lntake
       interview. Ms. Dunston further harassed me and used intimidating tactics as well
       to further discourage me and prevent me from proceeding with the informal
       complaint and to prevent me from filing a formal EEO complaint.
       Her actions were also malicious and a form of retaliation as she w-as involved with
       my prior EEO cornplaint (EEO Complaint Number: 2016-0014); she also
       continues to discriminate and retaliate against me. I informed Ms. Dunston that
       Ms. Swain and Ms. Clark had given me an anxiety attack and that she was also
       making me sicker and worsening my medical conditions.
       Ms. Dunston told me that I am not entitled to ask questions during the interview
       or the EEO process. Ms. Dunston raised her voice at me and told me not to
       interrupt her; she as well gave me an anxiety attack. Due to my medical
       conditions worsening; I had to tell Ms. Dunston to refrain from contacting me via
       telephone and should she have any questions or concerns, to please feel free to
       contact me via electronic mail as my health co.nditions could not resist her
       harassment or anyone else's any further.

      On February 2,2019I discovered and realized while preparing to file the formal
      EEO complaint (EEO Case Number. 2019-0012) with the Oflice of Equal
      Opportunity that the U.S. EqualEmployment Opportunity Commission and the
      Office of Equal Opportunity have continued to discriminate and retaliate against
      me after I filed the previous EEO Complaint (EEO Complaint Number. 2016-
      0014) and continue to discriminate and retaliate against me.




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       I discovered and realized that I was given false and misleading information when
        the OfIice of Equal Opportunity issued the Final Agency Decision (FAD); the
        Office of Equal Opportunity failed to advise me of my rights and give me an
        opportunity to file an appeal with the Offrce of Federal Operations but instead
        purposely provided me with the wrong information with the intent to sabotage,
       jeopardize and prevent me from filing an appeal with the Office of Federal
        Operations but instead lead me to believe to file an appeal with the Merit Systems
       Protection Board. On this date, February 2,2019; I made an amendment to the
       formal EEO complaint (EEO Case Number. 2019-0012) and notified the Office of
       Equal Opportunity.

       On March 20,2019; I was in receipt of the information I requested with the U.S.
       Customs and Border Protection under the Freedom of Information Act (FOIA)
       and related to a job offer that I received contingent upon the employment
       background investigation. I did not have the information regarding the Report of
       Investigation from the U.S. Customs and Border Protection related to the
       employment background investigation when I initiated and filed the formal EEO
       complaint (EEO Case Number: 2019-0012) against the U.S. Equal Employment
       Opportunity Commission and the Offrce of Equal Opportunity on the
      Bases of my national origin (Mexican), disability (major depressive disorder,
       suicidal ideation, depression, anxiety disorder, vertigo and migrainosus -
      migraine headaches), sex (female, single mother, domestic violence situation),
       denied reasonable accommodation and in retaliation for my prior EEO activity
      (EEOC Case No: 2016-0014.)
      On March 20,2019; I made an amendment to the formal EEO Complaint (EEO
      Case No: 2019-0012) and notified the Office of Equal Opportunity.
      I amended the complaint and added Yolanda Tanks (EEOC, Chicago District
      Offrce) to the complaint. Ms. Tanks provided false information to the investigator,
      Mr. Harold Sneath while conducting an employment background investigation for
      a job offer I.had pending with the U.S. Customs and Border Protection. Ms. Tanks
      provided false information related to my employment with the U.S. Equal
      Employment Opportunity Commission and regarding my employment with the
      Transportation Security Admini stration (T S A. )
      Ms. Tanks advised the investigator, Mr. Harold Sneath that my start date with the
      U.S. Equal Employment Opportunity Commission was June 19,2014; that is a
      false statement.
      My start date with the U.S. Equal Employment Opportunity Commission was on
      December 1,2014. Ms. Tanks also advised the investigator that I was still
      employed and working with TSA on a part-time call-in basis; that is a false
      statement.
      I resigned from TSA on October 1,2014.
      During the employment investigation; the investigator informed me that the U.S.
      Equal Employment Opportunity Commission stated that I started as an intern and
      my start date was in June 2014, that is a false statement. I was never an intern and
      my job title while working with the U.S. Equal Employment Opportunity
      Commission was only as an Information Intake Representative (IIR)
      Bilingual/Spanish.




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        I believe Yolanda Tanks retaliated against me due to my prior EEO activity and
        acted with malicious intent to prevent me from obtaining a job.
        The false information had a negative affect on me and my job with the U.S.
        Customs and Border Protection. The job offer was withdrawn by the U.S.
        Customs and Border Protection. At this point, I realized the reason why I haven't
        been able to obtain federal employment is because the U.S. Equal Employment
        Opportunity Commission has been providing false information during job
        reference checks and during employment background investigations.

    o   Due to my disabilities worsening throughout the past few years and due to the
        harm that the U.S. EqualEmployment Opportunity Commission and the Offrce of
        Equal Opportunity have caused me; I have not been able to concentrate, be
        healthy or be productive in my everyday life activities.
        The anti-discrimination laws state that the time limit can be extended under
        certain circumstances and I believe that I meet the time limit, given my
        circumstances and the ongoing harassment that I've endured by the U.S. Equal
        Ernployment Opportunity Cornmission and the Oftice of Equal Opponunity and
        the individuals mentioned in my complaint.
        Also, I believe that the day of harm or action can also be the date when the
        individual "realizes" they were harrned and when it's ongoing harassment.

I believe the Offlrce of Equal Opportunity failed to properly investigate my claims and
apply the law in to my claims and complaint; I believe this was done with malicious
intent to jeopardize my previous case (OFO File No. 0120180745 and EEOC Case No.
2016-00T4) that is currently under review with the Office of Federal Operations and to
discourage and prevent me from filing a formal EEO Complaint, therefore, denying my
rights to engage in the EEO process.
The U.S. Equal Employment Opportunity Commission, Chicago District Oflice has
already been in violation of the Agency's laws and discriminated against other EEOC
employees.
Furthermore, after reading the Notice of Dismissal issued by Mr. Stan Pietrusiak's; I was
in disbelief to discover the false statements and fabricated stories in which Ms. Swain,
Ms. Clark and Ms. Dunston provided to Mr. Stan Pietrusiak.
It's frightening to know that these same individuals are employed by the U.S. Equal
Employment Opportunity Commission, OfIice of Equal Opportunity. It appears to be a
common practice and something they have in common with the Chicago District Office.

For the reasons and evidence provide herewith, Complainant respectfully request that the
Commission overturn the Notice of Dismissal in this matter and make a determination in
my favor.

Respectfully submitted,

t"{4ffilehfl0^*0k d.
Elizabeth Gonzalez
5944 South Tripp Avenue
Chicago, IL 60629
El iz abeth_g onz2 @hotmai   l.   co m




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                        CERTIFICATE OF SERVICE

I,Elizabeth Gonzalez, certify that on June 8, 2}lg,the attached documents
(COMPLAINANT APPEAL BRIEF AND SUPPORTING
DOCUMENTS/EVIDENCE) was sent to each of the following:



                    NAME                                METHOD OF SERVICE
OFFICE OF FEDERAL OPERATIONS                                 By Electronic Mail:
 U.S. Equal Employment Opportunity Commission                ofo.eeoc@eeoc.gov



U.S. Equal Employment Opportunity Commission                By Electronic Mail:
Office of Equal Opportunity                                 contact oeo@eeoc.gov



Erica White-Dunston, Director                               By Electronic Mail:
U.S. Equal Employment Opportunity Commission                Erica.white-dunston @eeoc.gov
Office of Equal Opportunity




     08l     2{{
      Date                                      Elizabeth Gonzalez
                                                Appellant
                                                5944 South Tripp Avenue
                                                Chicago, Illinois 60629
                                                Telephone: (312) 7 88-4519
                                                elizabeth_ gonz2 @hotmai    1.   co   m
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                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                       Washington,   DC 20507
                                       Elizabeth Gonzalez, aMa
                                             Nadine M.,r
                                             Complainant,




                                            Janet Dhillon,
                                             Chair,
                            Equal Employment Opportunity Commission,2
                                            Agency.

                                       Appeal No. 2019003329

                                       Agency No. 2019-0012

                                             DECISION

    On May 9, 2019, Complainant filed an appeal with the Equal Employment Opportunity
    Commission (EEOC or Commission), pursuant to zg C.F.R. g 1614.403(a), from the
    Agency's May 6, 2019, final decision concerning her equal employment opportunity (EEO)
    complaint alleging employment discrimination in violation of Title VII of the Civil Rights Act
    of 1964 (Title vll), as amended, 42 U.S.C. g 2000e et seq., and Section 501 of the
    Rehabilitation Act of 1973 (Rehabilitation Act), as amended, 29 U.S.C. g 791 et seq. For the
    following reasons, the commission AFFIRMS the Agency's final decision.

                                        ISSUE PRESENTED

    The issue presented herein is whether the Agency properly dismissed Complainant's EEO
    complaint.


'    This case has been randomly assigned a pseudonym which will replace Complainant's       name
when the decision is published to non-parties and the commission's website.

2 In the present  matter, the Equal Employment Opportunity Commission (EEOC) is both the
respondent agency and the adjudicatory authority. The Commission's adjudicatory function is
housed in an office that is separate and independent from those offices charged with in-house
processing and resolution of discrimination complaints. For the purposes of this decision, the
term "Commission" or "EEOC" is used when referring to the adjudicatory authority and the
term "Agency" is used when referring to the respondent party to this action.
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                                       BACKGROLIND

 Complainant worked with the Agency as an Information Intake Representative (IIR) at its
 Chicago, Illinois District Office. The Agency informed her on November 25, ZOl5, that she
 would be terminated during her probationary period. In response, Complainant resigned from
 the Agency effective November 25, 2015. Complainant filed an EE6 complaint, namely
 Agency No.2016-0014, alleging that she was subjected to discrimination when she was
 constructively discharged when she was denied reasonable accommodations and resigned in
 lieu of termination. Complainant appealed this matter to the Commission. It has been
 docketed as EEOC Appeal No. 0120180745.

 Subsequent to her resignation, Complainant discovered that the Agency had included on her
 Standard Form 50 (SF-50), issued on January 5,2016, the reasons Complainant had given for
 her resignation. Complainant characterized this information as "sensitive and personal,'; it
referenced her disability, the Agency's alleged failure to provide her with reasonable
accommodation, her view that she had been constructively discharged, and her intention to file
a complaint against the Agency. Complainant contacted the Agency on several occasions to
obtain a revised SF-50 omitting this information. The record reflects that Complainant emailed
the Agency in July 2017. When she received no response, Complainant submitted additional
emails and letters to the Agency in November 2017.

 Follorving her resignation from the Agency, Complainant sought employment with the United
 States Customs and Border Protection (CBP) under the Department of Homeland Security.
The CBP tendered Complainant a conditional offer of employment pending a background
investigation. As part of the background investigation, the CBP contacted the Agency.
Following her background investigation, the CBP rescinded Complainant's job offer.
Complainant believes that an Agency official provided information which negatively affected
her ability to secure employment with the CBP. The record included an email from
Complainant to a CBP official (CBP Official) dated April 6, 2018, discussing the rescission of
thejob offer and the background investigation.

During this period of time, Complainant tried to obtain information that would support her
claim of discrimination alleged in Agency No. 2016-0014. To this end, Complainant
submitted several requests for documents and information under the Freedom of Information
Act (FOIA). She believes that the Agency has continued to subject her to unlawful retaliation
in mishandling and denying her FOIA requests.

Based on these incidents, Complainant contacted the EEO Counselor via email dated
November 16, 2018, alleging unlawful retaliation. During the informal processing of the
instant matter, Complainant emailed the EEO Office on February 2, 2019, raising concems
with the processing of Agency No. 2016-0014. She attempted to amend the instant matter to
include her concerns regarding the EEO Office's alleged misleading and false information
provided in the processing of her prior EEO complaint.
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                                                                                   2019003329


 When the instant matter could not be resolved informally, Complainant was issued a notice of
 right to file a formal complaint. On March 2, 2019, Complainant filed an EEO complaint
 alleging that the Agency discriminated against her on the basis of reprisal for prior protected
 EEo activity arising under Title vII and the Rehabilitation Act when:

        l.   The Agency included the private and sensitive reasons for her resignation on her
             SF-50. Complainant believed this was an intentional action to detract from her
             character and influence other federal agencies from hiring her in the firture.

        2.   Complainant leamed that the Agency provided false information to the CBP
             backgrouurd investigator that negatively affected her ability to secure employment
             with the cBP.

        3.   On unspecified dates up to October 2018, the Agency mishandled Complainant's
             FOIA requests.

        4. In October 2018, the Agency denied Complainant's    most recent FOIA request.

On May 6, 2019, the Agency issued its final decision dismissing Complainant's EEO
complaint (Agency No. 2019-0012). The Agency dismissed claim I pursuant to 29 C.F.R.
S 1614.107(a)(l) for failure to state a claim. The Agency held that Complainant failed to
assert a cognizable claim and that the SF-50 was drafted pursuant to guidance issued by the
Office of Personnel Management (OPM).

The Agency also dismissed claims I and 2 pursuant to 29 C.F.R. g rclaJo7(a)(2) for
untimely EEO Counselor contact. The Agency found that Complainant became aware of
claim 1 on January 5, 2016, the date the SF-50 was issued. As to claim 2, the Agency
determined that Complainant became aware that an Agency official provided information for
the CBP background investigation as evidenced in the April 6,2018 email. The record showed
that Complainant contacted the EEO Counselor by email on November 16,2018. The Agency
noted that Complainant's contact occurred well outside of the 45-day time limit.

The Agency then dismissed claims 3 and 4 pursuant to 29 C.F.R. g 1614.107(a)(l) for failure
to state a claim, The Agency determined that Complainant was using the EEO complaint
process to collaterally attack the Agency's FOIA process. The Agency stated that Complainant
was inappropriately using the EEO complaint process to challenge events outside of the
Commission's jurisdiction.

Lastly, the Agency noted that Complainant had attempted to amend the instant complaint by
alleging claims of dissatisfaction with the processing of her prior EEO complaint. The Agency
dismissed these claims pursuant to 29 C.F.R. $ 1614.107(a)(8) as a spin-off complaint. The
Agency nonetheless addressed the claims of dissatisfaction pursuant to EEO MD-110, Chap.
IV $ D, but found that the claims lacked merit.
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                                  CONTENTIONS ON APPEAL

On appeal, Complainant maintained her claims that the Agency's EEO Office subjected her to
unlawful retaliation regarding the processing of her prior EEO complaint. She levied
accusations against the EEO Director and the contractor EEO Counselor. She also argued that
the Agency improperly investigated her prior EEO complaint.

Complainant then argued that she did not receive the CBP investigation until March 2019. As
such, she claimed that did not become aware of the discrimination alleged in claim 2 until
March 2019. She asserted that claim 2 therefore was raised in a timely manner. In addition,
she stated that her prior management official with the Agency providecl incorrect dates to the
CBP pursuant to their background investigation. Complainant asserted that the management
official's false information was the basis for the withdrawal of the CBP's offer of employment.
Based on the Agency's alleged improper processing and false statements, Complainant asked
that the Commission reverse the dismissal of her EEO complaint,

The Agency responded by arguing that its dismissal of the complaint was appropriate. The
Agency asked that the Commission therefore affirm its final decision.

                                  ANALYSIS AND FINDINGS

Dismissal of Claims   I   and 2

 EEOC's regulations require that complaints of discrimination be brought to the attention of an
 Equal Employment Opportunity Counselor "within 45 days of the date of the matter alleged to
be discriminatory or, in the case of personnel action, within 45 days of the effective date of the
 action;' 29 C.F.R. $ 1614.105(aX1). The Commission has long applied a "reasonable
suspicion" standard, viewed from the perspective of the complainant, to determine when the
 45-day limitation period is triggered. See, e.s., Complainant v. U.S. Postal Serv., EEOC
Appeal No.0120093169 (June 27,2014) (citing Howard v. Dep't of the Navy, EEOC Request
No.05970852 (Feb. ll, 1999), citing Ball v. U.S. Postal Serv., EEOC Appeal No.01871261
(July 6, 1988), req. for recon. den., EEOC Request No.05980247 (July 15, 1988)). Thus, the
time-limitation is not triggered until a complainant should reasonably suspect discrimination,
even if all the facts that might support the charge of discrimination have not yet become
apparent.

As for claim    l,the record includes several forms of correspondence from Complainant
requesting the Agency to change her SF-50 issued on January 5,2016. The record shows that
Complainant contacted the Agency on July     Il,
                                               2017, seeking changes to her SF-50. As such,
we find that Complainant lvas aware of the situation as early as July 2017. However, she did
not contact the EEO Counselor until November 16,2018, well beyond the 45 calendar-day
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    time-limit. complainant has provided no reason to toll the time-limit. As such, we affirm the
    dismissal of claim 1.3

    In claim 2, Complainant argued on appeal that she was not aware of the false information
    provided by an Agency official (Agency Official) to the CBP until she received a copy of the
    background investigation in March 2019. The record shows otherwise.

 Complainant provided several documents in support of her appeal. Included within the
 documents \,vas a copy of an email she sent to the CBP Officiai dated April 6, 201g. In
 this email, Complainant provided the CBP Official with documents pertaining to her start
 date with the Agency.

 After a review of the documents as a whole, we find that Complainant clearly believed that the
 CBP withdrew its offer of employment following its background investigation. More
 specifically, as of at least April 6, 2018, Complainant was aware that the Agency Official
 provided what she believed to be false information regarding her start date. We find that
 Complainant should have reasonably suspected discrimination by April 2018, and therefore,
 we find that the time-limitation was triggered in April 2018. Complainant subsequently
 received documents supporting her belief that the Agency Official provided misinformation
 to the CBP. Despite reasonably suspecting discrimination in April 2018, Complainant
 waited until she received additional information from the CBP to contact the EEO Counselor
 in March 2019. As Complainant did not contact the EEO Counselor within the 45-day time-
 limit, we find that the Agency properly dismissed claim 2 pursuant to 29 C.F.R.
 $ 1614.107(a)(2).

Dismissal of Claims 3 and 4

The EEOC regulation set forth at 29 C.F.R. $ 1614.107(a)(l) provides, in relevant part, that
an agency shall dismiss a complaint that fails to state a claim. EEOC regulations further
provide that an agency shall accept a complaint from any aggrieved employee or applicant for
employment who believes that he or she has been discriminated against by that agency because
of race, color, religion, sex, national origin, age, disabling condition, genetic information, or
reprisal' 29 C.F.R. $$ 1614.103, 1614.106(a). The Commission's federal sector case
3
   We note that the Agency also dismissed claim I pursuant to 29 C.F.R. g 1614.107(a)(l) for
 failure to state a claim. We have aflirmed the dismissal of claim I on other grounds.
 However, we would be remiss if we did not address the Agency's application of 29 C.F.R.
 $ 1614.107(a)(l). We remind the Agency that, in claim l, Complainant alleged unlawful
 retaliation when the Agency provided Complainant with a negative reference contained within
 the SF-50. We find that Complainant has presented a cognizable claim of unlawful retaliation.
 Furthermore, we note that the Agency's articulated reason for the action in dispute, i.e., that
the SF-50 was issued in compliance with OPM regulations, goes to the merits of
Complainant's complaint, and is irrelevant to the procedural issue of whether she has stated a
justiciable claim under Title VII. See Osborne v. Dep't of the Treasury, EEOC Request No.
05960111 (July 19, 1996); Lee v. U.S. Postal Serv., EEOC Request No.05930220 (Aug. 12,
 1993); Ferrazzoli v. u.S. Postal Serv., EEoc Request No. 05910642 (Aug. 15, l99l).
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 precedent has long defined an "aggrieved employee" as one who suffers a present harm or
                                                                                         loss
 with respect to a term, condition, or privilege of employment for which there is a remedy.
 Diaz v. Dep't of the Air Force, EEoc Request No. 05931049 (Apr. zl, lgg4).

 In claims 3 and 4, Complainant alleged discrimination based on her dissatisfaction with the
 Agency's responses to, and denial of, her FOIA requests. We note that such claims fall
 outside of the Commission's jurisdiction. The Commission does not have enforcement
 authority over the processing of FOIA requests. See Gaines v. Dep't of the Navy, EEOC
 Request No. 05970321 (June 12, 1997) (Commission has no jurisdiction over the processing
 of FOIA requests and appeals about the processing of his FOIA requests should be broughi
 under the appropriate FOIA regulations). As such, Complainant should bring any upp.uls
 about the processing of her FOIA requests under the appropriate FOIA regulations. We
 therefore affirm the dismissal of claims 3 and 4 pursuant to 29 C.F.R.
                                                                        $ 1614.107(a)(l) for
 failure to state a claim.

 Claims of Dissatisfoction in the processing of Agency No. 2016-0014

EEOC Regulation 29 C.F.R. $ 1614.107(a)(8) provides for an Agency to dismiss an EEO
complaint that alleges the dissatisfaction with the processing of a previously filed complaint.
This is commonly referred to as a "spin-off'complaint.

Complainant claimed that the EEO Office mishandled her prior EEO complaint. She tried to
amend the instant complaint   to include her claims of dissatisfaction in the processing of her
prior EEO complaint. In addition, on appeal, Complainant levied additional claims against
Agency EEO staff. Here, the claims at issue are classic examples of spin-off complaints as all
its allegations, considered in their totality, raise allegations of Agency misconduct in the
processing of Complainant's previously filed complaint. As such, we find that these claims are
properly dismissed pursuant to 29 C.F.R. $ 1614.107(a)(8).

In cases where Complainant's concerns have not been resolved informally with the Agency,
Complainant may present those concerns to the Commission at either of the following stages of
processing:

       l. where the complainant has requested a hearing to the Commission's
          Administrative Judge when the complaint is under the jurisdiction of the
              Administrative Judge; or

       2. Where the complainant has not requested a hearing to the Commission's Offrce of
              Federal Operations (OFO) on appeal.

EEO MD-110 at 5-29. We note that Complainant's prior EEO complaint, Agency No. 2016-
0014, was addressed in EEOC Appeal No.0120180745. The Commission vacated the
Agency's final decision and remanded the matter for further processing. The Agency has been
ordered to provide Complainant with the right to a hearing before an Equal Employment
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 Opportunity Commission Administrative Judge (AJ) or an immediate final decision.
 Therefore, we note that the appropriate place for Complainant to raise her claims of improper
 processing of her original complaint and the motives therein is before the AJ if she opti foi a
 hearing or before the Commission on appeal following the Agency's final decision in that
 complaint.

                                          CONCLUSION

 Based on a thorough review of the record and the contentions on appeal, including those not
 specifically addressed herein, we AFFIRM the Agency's final decision.

                           STATEMENT OF RIGHTS - ON APPEAL
                                 RECONSTDERATTOIi (M06 I 7)

The Commission may, in its discretion, reconsider the decision in this case if the Complainant
or the Agency submits a written request containing arguments or evidence which tend to
establish that:

        l.      The appellate decision involved a clearly erroneous interpretation of material
                fact or law; or

        2.      The appellate decision will have a substantial impact on the policies, practices,
                or operations of the Agency.

Requests  to reconsider, with supporting statement or brief, must be filed with the Office of
 Federal Operations (OFO) rvithin thirty (30) calendar days of receipt of this decision. A
party shall have twenty (20) calendar days of receipt of another parry's timely request for
reconsideration in which to submit a brief or statement in opposition. See 29 C.F.R.
$ 1614.405; Eoual Employment Opportunity Manaeement Directive for 29 C.F.R. Part l6l4
(EEO MD-ll0), at Chap. 9 $ VII.B (Aug. 5, 2015). All requests and arguments must be
submitted to the Director, Office of Federal Operations, Equal Employment Opportunity
Commission. Complainant's request may be submitted via regular mail to P.O. Box 77960,
Washington, DC 20013, or by certified mail to 131 M Street, NE, Washington, DC2O5O7.In
the absence of a legible postmark, the request to reconsider shall be deemed timely filed if it is
received by mail within five days of the expiration of the applicable filing period. See 29
C.F.R. $ 1614.604. The agency's request must be submitted in digital format via the EEOC's
Federal Sector EEo Portal (FedSEP). See 29 C.F.R. g l6la.a03(g). The request or
opposition must also include proof of service on the other party.

Failure to file within the time period will result in dismissal of your request for reconsideration
as untimely, unless extenuating circumstances prevented the timely filing of the request. Any
supporting documentation must be submitted with your request for reconsideration. The
Commission will consider requests for reconsideration filed after the deadline only in very
limited circumstances. See 29 C.F.R. g l6la.60a(c).
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                                                                               (s06 I 0)

  You have the right to file a civil action in an appropriate United States District
                                                                                         Court lvithin
  ninety (90) calendar days from the date that you receive this decision. If you
                                                                                           file a civil
 action, you must name as the defendant in the complaint the person who
                                                                               is the official Agency
 head or department head, identifiring that person by his or her full name
                                                                                    and official title.
 Failure to do so may result in the dismissal of your case in court. "Agency,'
                                                                                     or ,,department,,
 means the national organization, and not the local office, facility or dJpartment
                                                                                        in ,uhi.h you
 rvork' If you file a request to reconsider and also file a civil u.iion, filing a civil
                                                                                           action rvill
 terminate the administrative processing of your complaint.

                                  RrGHT TQ REOUEST COTTNSEL (2081s)

 If you rvant to file a civil action but cannot pay the fees, costs, or security to do so, you may
request permission from the court to proceed rvith the civil action rvithout paying
                                                                                       these fees or
costs. Similarly, if you cannot afford an anorney to represent you in the civii
                                                                                   u.1ior, you may
request the court to appoint an attorney for you, You must submit the requests for
                                                                                          ryaiver of
court costs or appointment of an attorney directly to the court, not the Commission. The
court has the sole discretion fo grant or deny these types of requests. Such requests do not
                                                                                                alter
the time limits for filing a civil action (please read the paragraph titled Complainant's Right
                                                                                                   to
File a Civil Action for the specific time Iimits).

FOR THE CON{MISSION:



   bernadette.wilson@eeoc.sov ;'Jl:11,::L:""1"Y:::il:#:*'**

Bernadette B. Wilson
Executive Officer
Executive Secretariat


       oEC 2      7   zotg
Date
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                                   CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received
within five (5) calendar days after it was mailed. I certify that this letter was mailed to the
following recipients on the date below:

Ms. ElizabethGonzalez
5944 South Tripp Avenue
Chicago, IL 60629

Hand Deliver to:
Stan Pietrusiak, Acting Director
Office of Equal Opportunity
Equal Employment Opportunity Commission
131 M St., NE 6NW22K
Washington, DC 20507




                   ntrol Divisio
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                               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                              Washington, D.C. 20507

Office of Equal Opportunity




                                                   July 19,2016


Elizabeth Gonzalez
5944 South Tripp Avenue
Chicago, IL 60629

            SUBJECT:          Report of Investigation
                              Elizabeth Gonzalez v. Jenny R. Yang, Chair, U.E. EEOC
                              EEO Complaint No. 2016-0014

Dear Ms. Gonzalez:

Pursuant to 29 C.F.R. $ 1614.108, effective on July 19, 2076, the investigation of your formal
complaint, filed on January 12,2016, has been completed. A copy of the investigative file is enclosed.

Additional information in regard to the Bill for Collection you received from the U.S. Department of
the Interior regarding a pay adjustment, as well as, the information regarding your comparator you
provided on May 6,2016, has been requested from management. Upon receipt of the information, it
will be forwarded to you as Tab F-3 and to be inserted under Tab F (Evidence and Documents) in the
investigative file.

Discretion should be exercised with regard to the contents of the investigative record. The information
in the file should not be disclosed to anyone other than you or others directly involved in the
adjudication of this matter.

Be advised that you have the right to request a hearing before an Administrative Judge (AJ) or to
receive a final decision from the Chair, Equal Employment Opportunity Commission (Agency). If you
wish to request a hearing before an AJ, YOU MUST SUBMIT A WRITTEN REQUEST FOR A
HEARING WITHIN 30 CALENDAR DAYS OF RECEIPT OF THE INVESTIGATIVE FILE.
THE WRITTEN REQUEST MUST BE SENT TO:

                              Hearing Request
                              Attention: Director of Special Services
                              Office of Federal Operations
                              Equal Employment Opportunity Commission
                              131 M Street N.E., Rm. 5SE21B
                              Washington, D.C. 20507
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Elizabeth Gonzalez v. EEOC                                        Transmittal of Report of Investigation
Page 2                                                                 EEO Complaint No. 2016-0014


Enclosed for your convenience, please find a hearing request form. Submission of the request will
constitute notice to the Agency under the applicable regulations. If a hearing is requested, the AJ will
issue a decision on the complaint. Thereafter, within 40 calendar days of receipt of the AJ's decision
and hearing record, the Agency will take final action by fully implementing, modifying or rejecting the
decision of the AJ in its Final Order, and simultaneously filing an appeal with the Office of Federal
Operations. If the Agency does not issue a Final Order within 40 days of receipt of the AJ's decision,
then the AJ's decision will become the final action of the Agency.

If a hearing is not requested within 30 days of receipt of the investigative file, the Agency will issue   a
final decision on the merits within 60 calendar days from the end of the 30-day period for requesting      a
hearing.

If you have any questions, please contact the Office of Equal Opportunity at202-663-7081.


                                                     Sincerely,

                                                     lsl
                                                     Camella Woodham, Deputy Director
                                                     Office of Equal Opportunity




Encl: (Complainant only)
         Investigative File
         Request for Hearing Form

cc:      Nicholas Inzeo, Director
         Office of Field Programs

         Julianne Bowman, Director
         Chicago District Office
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                                                 FORM TO REqUEST A HEAR!NG



          Re:   EEOC   Complaint No(s)

Iam requesting the appointment of an Administrative judge pursuant to 29 C.F.R. 5 161a.108(g).               I


hereby certify (check applicable box below):

                More than 180 days have passed from the date I filed my complaint; or
                I have received a notice from the Commission that I have thirty (30) days to elect      a

                hearing.

Complainant's Name:

Complainant's Address:

Complainant's Telephone No.              :



Representative's Name (if any):

Representative's Add ress         :




Representative's Telephone No.               :



ln accordance with 29        1614.108(9), t hove sent this request for o hearing, either by moil or
                                CFR 5
emoil, to the following persons at the Commission:

To:   Hearing Request                                           CC: Director,  Office of Equal Opportunity
      Attn: William Torruellas,                                       U.S. Equal Employment Opportunity
      Attorney Advisor                                               Commission
      Office of Federal Operations                                   131 M Street, NE, Suite 6NW14G
      U.S. Equal Employment Opportunity                              Washington , DC20507
      Commission
      131 M Street, NE
      Washington , DC20507
                                        Alternotively, you moy emoil your lorm to:

                                         To:     hearingrequest@eeoc.gov
                      (lnclude "Heoring Request- Comploint No.       .'-   " in Subiect Line)




                                                  Signature of Complainant    or                Date
                                                  Complai na nt's Representative



Form updated February 25,2OL6
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              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                             Washington, D.C. 20507
                            OFFICE OF EQUAL OPPORTUNITY



                                        December 7,2017

Ms. ElizabethGorualez
5944 South Tripp Avenue
Chicago, IL 60629

       Re:     Elizabeth Gonzalez v. Victoria A. Lipnic, Acting Chair, EEOC
               EEO Complaint No. 2016-0014

Dear Ms. Gonzalez:

Enclosed is the Final Decision in the above-referenced complaint. Your MSPB appeal rights
are explained in detail in the attached enclosure. Please note that there are time limits for filing
an appeal, if you decide to do so.

I have also encloseda CD which contains the revised Report of Investigation (ROI) in this
matter. The revised ROI includes the following exhibits which were obtained as part of the
Agency's supplemental investigation:

Tab G: Miscellaneous

       G-3     Supplemental Affidavit of CHIDO Director Julianne Bowman

       G-4     Affidavit of Agency Payroll Administrator Marquis Chambliss

       G-5     Affidavit of IIG Program Director Patrick DeWolf

       G-6     Supplemental Affidavit of Union Steward Kimberly Engram

       G-7 Supplernental Affidavit of CHIDO Enforcement           Supervisor Tyrone Irvin

       G-8     Affidavit of OFP Attorney Advisor    Jean Watson

       G-9     E-mails and attachments from Julianne Bowman, OCHCO Attorney-Advisor
               Steven Schuster and the CHIDO management team regarding Complainant's
               termination

       G-10    Complainant's Improper Case Processing complaints

       G-l1    Agency responses to Complainant's Improper Case Processing complaints
  Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 45 of 104 PageID #:192
                                                                       Elizabeth Gonzalez v. EEOC
                                                                     EEO Complaint NO. 2016-0014

Additionally, we have included CHIDO Director Julianne Bowman's July 28, 2016 affidavit
which was inadvertently omitted from the original ROI at Tab F-3.

        If you have any questions, please contact me at (202) 663-4100.




Encl:   Appeal Rights
        Revised ROI (CD)
                Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 46 of 104 PageID #:193

     RE: Final          Agenry Decision and MSPB appeal rights

      ERICA WH ITE.DU NSTON < ERICA.WH ITE-DUN STO N @ EEOC.GOV >

      Wed 1/10/2018 6:00 PM

      lnbox

      To;   Elizabeth Gonzalez <elizabeth3onzZ@hotmail.com >;




     Ms. Gonalez,

   OEO responded prwided you the Report of lnvestigation both by electronic mail and postal  mail. As you regularly
   correspond with this office via electronic mail, OEO used your regular method of communication (emaill in delivering said
   report to you. However, to insure thatyou also received the information, a hard copy was mailed to you.

- _lhfs     offSg_E committed to the objective and neutral investigations of wery complaint of discrirnination filed with this office.

*'                                                                         *f
   Erica D. White-Dunston, Esq.
   Director
   Office of Eqml Opportunity
   EEoC He_adqug_[eg

  liL!{--sls*-!!-e,-$gr-9llYY-?z-.!!
  W-u-:tl'-g!grP9-?9192
   Erica,white-du n$ton @eeoc.eov
   202.663.4L00
   LOO?6 Committed, 100% of the Time



  From: Elizabeth Gonzalez [mailto:elizabeth3onz2@hotmail.com]
  Sent: Monday, Decembe r L8, 2O77 1:46 PM
  To: CONTACI_OEO <contact_oeo@eeoc.gov>; ERICA WHffE-DUNSTON <ERICA.WHITE-DUNSTON@EEOC.GOV>
  SubFcE Re: FinalAgency Decision and MSPB appeal rights

  Erica ll/hitoDunston @irector of OEO) is aware of this issue. She was a recipient and received the electnonic
  mail. I believe this was a malicious intent to delay ttrc filing of the lawsuit
  That was an improper way to render the Final Agency Decision.

  From: CONTACI_OEO <mntact oeo@eeoc.eov>
  Seng Monday, December 18, 2Ol7 9:59:12 AM
  To: Bizabeth Gonzahz
  $t$ecft RE: Final Apncy Declsion and MSPB appeal rights

  Hi Me. Gonalez,

  I undcrshod thd you are unable to retieve the information             and documeotatiotr on the CD you received. I        will
  inform OW rwagpfrbfr rcgxding this matt€r.

  So'l"ri*ra" A-           furu'nq
  Equal Employnrent Specia list
  Office of Equal Opportunity
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                             OFFICE OF FEDERAL OPERATIONS
                u.s. EQUAL EMPLOYMENT OppORTUMTy COMMTSSION
                                       P, O. Box 77960
                                    Washington, D.C. 2OAl3

    Elizabettr Ctonzalw                            OFO File No: 0120180745
    Complainan!
                                                   EEOC Case No: 2016-0014

                                                   Agency No: 20160014

    VictoriaA Lipnic, Acting
                           Chair,                  Date: January 22,2018
    U.S. Equal Employment Opportunity
    Commission,


                              CODTPLAINANT APPEAL BRIEF

          I hereby submit a brief in support of my appeal, which was filed on December 22,
    2017 onthe above referenced mafier.

          On Decembq 7,2017 the U.S. Equal Employment Opponnity Commission,
   Office of Equal Opporurnity issued its Final Agency Decision.

            I hereby submit widence as below and attached documents which is already
    referenced in the EEO investigatio4 EEO Report of InvestigUion and Revised Report of
   Investigation to dispute the Offrce of Equal Opporarnity's finding aud to proffer facts
   whichwere omitted, misrepresented, and falsifid bythe investigator,Ioel Mllan, the
   Office of Equal Opporurnity and the ilHnagemer$ of the U.S. Equal Employment
   Oppornrnity Cornmission, Chigago District Office (fuency.) There are sev€ral shifting
   explanations in the Affrdavits and e-mail correspondence from maragement (U.S. EEOC,
   Chicago District Office) and Union Steward, Kimberly Eqgram. The office of Equal
   Opporurnity failed to adhereto ttre laws and failed to properly investigate my case, failed
   to correct my claims, failed to address my coilcems and issues, failed to correct my
   Standard Form 50 and remove the derogatory remarks(I have not bea able to obtain
   federal employment because ofthe aflect from the remuts) and failed to iszue a timely
   Final Agency Decision (it was issued almost two years after I filed the formal complaint
   on Iannary 12,2016.) I did not request a hearing. I also believe that the law was not
   applied to my case.

           I allege that tfte U.S. Equal Employment Opportunity Commission (Agenoy)
   discriminated against me based on my national origin (Mexican), disability (major
   depressive disorder, suicidal ideation, depressioq anxiety disorder, vertigo aud
   migrainosus - migraine headaches), sex (female, siagle mothetr, domestic violence
   situation), d€nied reasonable accornmodation and in retaliation'for my prior EEO activity:




                                            Page   1
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    Did the Office of Equal Opportrnity and the U.S. Equal Ernploynent Opporhrnity
    Commission (fuency) err wheu it detennined that my status as a probationary employee
    was I condition and factorto deny me ADA Foteotio& and therefore I Elizabeth
    Gonzalea who has a major depressive disorder, suicidal ideatiorl depression, anxiety
    disorder, vertigo and migrainosus (migraine headaches), was not entitled to ADA
    protection, not entitled to oomplete the interactive prooess after beiag fully awre that I
    contacted the Disability Program M*go, Mr. Rodney Yelder and submitted the fornral
    Request for Reasonable Accommodation and not entitled to a reasonable
    accommodation?

   Would modifying my work schedule so I could telework and/or take intermittent leave
   significantly disnrpt the Agency's (U.S.EEOC) operations and cause undue hardship,
   given the size of the Agency (u.S. EEOC) and the nunrber of staffin the Infornation
   Intake Group (IIG), and the flexible policies and pr:actices governing telework and
   fl exible work schedules?


   Did the Office ofEqual Opportunity and the U.S. Equal Employment Opportrnity
   Commission err when it determined that an essential function of an Information Intake
   Representative was to be able to work only fronr the physical location of the EEOC
   Office and nottelework; although there are sev,eral Information lntake Represeutatives
   thatteleworlg and therefore I, Elizabeth Gonzalez, wlro has a major depressive disorder,
   suicidal ideatioq depression, anxiety disorder, vertigo and migrainosus (migraine
   headaches), was not entitled to ADA protection, not eotitled to complete the interastirc
   process after contacting the Disability Program Manager, Mr. Rodney Yelder and
   zubmiuing the formal Request for Reasonable Accomsrodation and not entitled to a
   reasonable accommodation?

           On Febnury 3,2015; I went to the emergency room at Holy Cross Hospital due to
           suicidal ideation and major depression.

           On February 4,2015; I informed supervisor, Tyrone Irvin regarding the
           emergency room visit at the hospital.

          In April2015; I started applyrng to jobs inBattimore, Irtaryland and Washingtoq
          D.C. to get away from the domestic violence situation I was enperiencing with my
          son.

          On t"{ay 28,2015; I updatal and informed Mr. Tyrone Irvin that I was still
          orperiencing major depression and still in a domestic violenoe sitration with my
          Z?-year-oldson-

          On fune 1,2015; I informed Mr. Tyrone Irvin that I was still experieacing major
          depression and still in a domestic violence sitration and asked Mr. Irvin to modify
          my work schedule ufltil I get my health under conrol as well as the domestic
          violence situation at home with my Z}-yeu-old son. Specifically I requested
          intermittent leavg leave without pay and a hardship transfer.




                                             Page2
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        o     At first, Mr. Tyrone Irvin and ttre Agency (U.S. EEOC) accommodated two ofmy
              request by approving and allowing me to take intermittent leave and take leave
              without pay. Mr. Tyrone Irvin said the hardship transfer would be uery difficult
              and he did not offer any assistance.

        o    But then on November 5, 20I5; I got very sick a, work and was taken by an
             ambulance to the hospital. After this day; management and *re fuency (U.S.
             EEOC) took a very fast approach to termiode me without having any regud or
             sympathy for my health (disabilitie.s) and well-being from being in a domestic
             violence sitration. It was apparent that ttreir main conce,rn was to fire me before
             my probationary period ended (1210112016.)

        o    So on November l'1,2015 and November 20,2015;the management from the U.S.
             Equal Employment Opporurnity Commissiou Chicago Disrict Offrce (Aeensy)
             presurted me with three options:
                        (l) Request areasonable accornmodation (I immediately requested it
                            onNovember 20, 2015)

                          (2) A demotion to part-time employment (I acce,pted the part-time
                              demotion but it was quickly disregarded and voided after I told
                              Union Steward, Ms. Kimberly Engram about my prior EEO
                              activity in which then Ms. Engram told me to hold offon it
                              beoanse she knew how man4gemert was and they would retaliate
                             against me.)

                          (3) Extend probationary period (the management h the U,S. Equal
                              Employment Oppornrnity Conmissiorq Chicago Dstrict Oflice
                              failed to exteud my probationary period for 22 days per the Leave
                              Policy.)

   In my response, I agreed to atl of the three options. I wanted and needed to keep my job.
   I was able and willing to work with a reasonable accommodation. As a result oftheir
   astioas; I have been living in poverty for the past two years wittr $6.50 per day given to
   me from the government on my Link card to purchase food. My house that I've owned
   for the past l8 years is golng in to foreclozure. My health and disabilities have worsen
   and I have isolated myselffrom my family and friends.

   I also               posible reasonable accommodations:
            asked for two
   tRequest to  modi! my work schedule; provide and allow me to tdework and/ortake
   intcrmittsrt leave on the days that I cannot get my depression or vertigo undEr control
   and have to stay home.

   OnNovember 20, 2015; I contaoted Mr. Rodney Yelder, Disability Program Manager
   and sent him an e-mail and requested a formal reasonable accommodation. I iaformed
   Mr. Rodney Yelder (DPM) that I would zubmit the nnedical doqrmeutation aad support
   as soon as possible.
   Please   Note:   November 20,2015 (Friday; I requested tlc formal reasonable acoomrnoduion)
                    November 21,2015 (Saturday; office is   closd)                                 d




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                   November 22, 2015 (Sundaf offioe is closed)
                   November 23' 20t s                                              crariry
                                       ffim#Hffiffi'stffitr;1i*'
                  November 24,2015 (Iuesdey; I was preparing to schedule a dootor's appoinmed)
                  November 25,2015 (Wednesday; I was issued the termination letter due to
                                    excessive absences from wor$

    Furthermorg the email conespondence that was gathered fromthe zupplemental
    investigation regarding glenagement from the U.S. EEOC, Chicago District Ofrice;
    Julianne Bowman, Pahicia laramillo, Tyrone Irvin; Disability Program M*.go, Rodney
    Yelder and Attorney Advisor, Steven Schuster, and related to my termination \ilas ilot
    entered in to "Evidence" but was entered under Tab G (Mscellaneous.)

    The following Affidavits w€re not entcrod in to "Evidense":
    *futanneBowman's Affidavit dato( Deoember 05,2017 (peges not initialed.)
    *Tyrone Irvin's Affidavit date4 November 8,2017
    *KimberlyEngram's Affidavit dated, June 19, 2017
    *Elizabeth Cronzalez'Affidavit dated, January 12,2016 and fune 30, 2015.

   The Offrce of Equal Opportunity and investigator, Joel Millan omitted the Incident
   Report (November 5, 2015; ttre day I got sick at work) that I submitted as an attachment
   with my Affidavit, dated June 30, 2016 and failed to enter it in to "Evidence.'

   The Office of Equat Opporfirnity and investigator, Joel Millan omitted the email
   correspondence betweeo mansger frorn the U.S. EEOC, Chicago District Office, Paficia
   fu:amillo and Auorney Advisor, Steveu Schuster related to my disability and reasonable
   accommodation, dated Novembq 23,2015 and November 24,2015.
   This particular email was entered in to the Tab G MscellEneous) during the
   nrpplemental investigatiou.

   I believe the Office ofEqual Opporarnity and investiguor, Joel lvfillan failed to submit
   critical facts in to'Evidence" and failed to properly investigate my claims and apply the
   law in to my case; I believe this was done with malicious intent to jeopardize my ca$e as
   the U.S. EEOC, Chicago District Office has already been in violation of the Agency's
   laws and disoriminated against ortherEEOC employees.




                                            Page4
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    For the reasons urd evidenoe provide herewith, Complainaut respecffiilly request that ttre
    Commission overhrm the Final Agenoy Decision in this matter and rnake a deterrrination
    in my favor.




  e*ffiw
    Respectfu   lly   submitted,




    5944 South Tripp Avenue
    Chicago,IL60629
    (312)788-45re
    Elizabethgonz2@hotmail. com




                                    CEFJ'ITICATE OF SERVICE


    I, the undersigned, hereby oerti8, *rat I served the foregoing document(s) to the parties
    indicated below by means indicated below on the date of sigaature below:


                      OFFICE OF FEDERAL OPERATIONS                      By Electronic Mail:
                      U.S. Equal Employment Opportunity                 ofo.eeoc(2eeoc.sov
                      Comnrission




                      U.S. Equal Employment Opportunity                 ByElecftonic Mail:
                      Commission                                        contact-oeo@eeoc.gpv
                      Office of Equal Opportunity

                      Erica White-Dunston" Diroctor                     ByElectroaic lvlail:
                      U.S. Equal Employment Op,pornmity                 Erica. white-dunston(@Beoc. gov
                      Commission
                      Office of Equal Opportunity




                      5%4 South Tripp Avenue
                      Chicagq lL 6ffi29
                      (312)788-45te
                      Elizabeth sonfl@Ircunail. com



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Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 58 of 104 PageID #:205




 STAN PIETRUSTAI(

 Fnsrt                            PATRICIA JARAMILLO     <   PATRICIAJARAMUO@ETOCGO/>
 5ont                             T1il656y, llorcmberOs,2015        3f0   PM
 TE                               JUUANNEBOwIVIAN
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      Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 59 of 104 PageID #:206




STAN PIETRUSIAK

Froru                                              BOWMAN < JUIJANNE.BOWMAN@EEOC.6OV>
                                          JU LJAN N E
Sent:                                     Monday, November 09, 2015 5:30 pM
To:                                       TYRONE IRVTN
Cc:                                       PATRISA JARAMII.IO
Subject                                   Re: Meeting concerning IIR Elizabeth Gonzalez



I'm avallable tomorrsv, ln and around the otlrcr allday yeetins         I h1ve. If yol let me krpw what your scfiedule b llke,
I'll try to work your sdredule lnto mlne so        v're can   me* mnronov. I rrcuH llke pJ to be tfrere - ii itre ls feellng well
enough     b   come ln tomorror.

>>> TYRONE IRWN 1U6l2015 4:54 pM >>>
In the past three weeks she has lmproved her attendance as lt pertains to LWop, but
                                                                                      she anives about 1s mlnutes late
a day' she has not taken LWOP slne 10/14/2015. Prlor to thai it was at
                                                                         hast three oavs i neer<-sorneumes more. I
have not had a onversation with Ellzafth since probably August about u," t
                                                                              fhg of Lwop. I Just wanted to update
you to so that we can dedde see if this laEst lmprovernent ls-acceptaue
                                                                        or lf we ltrouU sUtt be-consHering oilrer
options,

Are you avallable Monday or Tueday to dlscuss?


                  Ty:orc Irvit
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      Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 60 of 104 PageID #:207




STAN PTEfRUSTAK

frotru                            ,uuAN NE BOWT0IN < JUUrfl Ng8@lrMANO rEOC@Vr
Srntl                             lvlondry. Nurumbsl( 20fS 1LOs pM
To;                               RODNEY YELD€& STB,EN SCHUSTER
Srqcd:                            l{eed roma help and advkq*


ltYa ftave a probalhnary amSuyet whom yaar      k trp. on Dmmbor 1ll $tr l* a good anlplcle hrt due io Edno v€fy
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      Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 61 of 104 PageID #:208




 STAN PIETRUSIAK

 From:                                PATRICI.A JARAMILLO < PATRICIAJARAMITI.O@EEOC.6OV>
 Sent                                 Tuesday, November 17, 2015 9:36 pM
To:                                   JUTIANNE BOWMAN; TYRONE IRVIN
Subject                               IIR



Spoke lo Elizabeth thls afternoon' was not very productive. I told her she was a probationary
                                    .lt                                                            employee and we wera
concemed with her attendance-.she       was very surprised by ihe conversation and did not see ifcomlng. I told her !
understood thal Tyrone had spoken lo her abbut thls situation before. srrJoio saf rnaai!
conversation wilh her, but she doesn't remember. She asked ma lf she was goin! to be tired.
                                                                                                   ;;
                                                                                                  ,"v"t rr" had a previous
                                                                                                 t sata we had not made
that decislon and I uns talking to her so see what was going on with her attenoanie
                                                                                      ard possible           o,
alternalives. She said she did not know. She doesn't want-to ae part time. Herlob                        =otuti,ons
                                                                                          aa                    out. She did say
that sh€ lras been out due to health reasons and issues with her ion. She volunieered that   ";i;;;iler
                                                                                                   she gdts migraines
headaches and being on the phone all day doesn't hg-lp.
                                                          lrer migratnes. r astal trer ir
about that and she said that she has rrcrked it out with Ken
                                                                                            tn;il;;#fiing        we could do
                                                               to iirrn the tights down lhat lplil. i         n", if she had the
informalbn for thE ADA coordinator and told her that either I or ryrone woriio give it to
                                                                                             her. 'she "r("0
                                                                                                        asked ff she could work
from home qfen shg gets the migraines. I asked her hor with ttiat wo* wittr ier son in rr"r
                                                                                                    r,or""      rr* n"rirg ti;J"'
migralnes. This E when she volunteered tlrat her son had moved out turc or two and half weeiJis".          "nar asked her if she ls
having migraines how would rarcrking from home help her. she had no an.*or.

slrs wes surprlsed by the corwersation. I told her lhat I was.going to be out tomonor, but
                                                                                             would be back on Thursday
and we, including Tyrona, could talk mora about it on              5h" do""n't ,rant io ui n"o.-i-*1*Lted that we have
                                                      _Thursdiy.
not made that decision. she sap that the union told. the employees thal we could fire
period. on Thursday, she will probably talk to us with the union present. -
                                                                                         *plov"o-fiiGtn the probationary

she sap that her attendance has improved and the last few weeks. But, she did nol say that
                                                                                                     it uras going to get better.




                                                                                          GONZALEZ 20,I6    OO14   REVISED ROI 380
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 62 of 104 PageID #:209




 STAN PIETRUSIAI(

 From:                                WRONE IRVIN (TYRONEJRVIN@EEOC.GOV>
 Sent:                                Ihursday, November 19.2015 Z:Zl pM
 To:                                  STEVEN SCHUSTER
 EC:                                  JULIANN E EOWMAN; PATRICTA JARAMITLO; PATRICK DEWOLF
 Subje€t:                             [R Elhabeth Gonzalez
 Attadtments:                         Gonzalez.doc



 Shte and Pat,

 we have an IIR here ln chicago Slat ts sti[ ln her probathnary period that ends Norrerter 30. 2015. she
                                                                                                                has called ofr
 frecuently to tfle tune of 240 holrs leavc without
                                                     iray beginntfi m m"v ttt.Gt w€dnesday or tna               in :ure ano
 !9ain tn August   t had conversaffons wlh_Ellzabeth pertatning 6 her adsences;no ttc possiuirny trrrt"eer.
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 dlsdurgett as a probatioflary enphyee if her aBeniarre dli'not mrprwe. grizuo"trr iniormed ,i
 are caused by stress front evenE in her pritrate llfe. I haie dlrected her to EAp and the ADA
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                                                                                                 Resonable
 Accomntdathn coe{lnator. t have not been €onbcted by either tn refererre to Ms. Goffialez.
                                                                                                    The Enforcernent
 Manager, Patrlda Janmllb had a conveBatlon with Ellzabetr.on Tuesday comenrtg
                                                                                         her attendance rsd;, According
 to Patrich' Ellzabeth oftred nothlng as a resdutlon nEr dld she rnaee'she',roufO iurn*
 atterdance. we have made the de*lon to tennlnate h* employment efrecilve Noverter
                                                                                                to 6o*;il-fo'
                                                                                               30, Zdri. lu;p gown6n
 asked that I send the termlnaUoo doorment to !,ou both for ciminent and/or lnput

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STAN PIETRUSIAK

From:                            PATNCIA JARAifl LLO < PATRICIAJARAMITLO@EEOC.GOV>
Sent                             Thursday, November 19, 2015 6:36 PM
To:                              JUTIANNE BOWMAN
SubJect:                         Re: The union wants to meet with Tyrone and me tomonow




Yes, about Eltsabeth. What I told her was   $at m   declsion had been made whtch lt was and lt ts true. As far as   I   knoral
we have not made a decldon.

>>> JULIANNE BOWMAN 1U19/2015 5:33 pM >>>
About EllzabeBr? Meet wl*r them and flnd out what they have to say. Don't have to E1 Srenr any dedslon blc haven,t
rnade one yet. I a<eume Bizabeth hasn't been told one way or the other.

>>> PATRICTAJAMMILLO ttltglts 5:26 pM >>>
What can I tdl them. No declsofl has been made and I know the recommendation went up today. I wlll set up           tle
meetirg for the aftemoon, around 2:30 to give us Unre b dlsucus.




                                                                                 GONZALEZ 2016 @14 REVISED ROI 524
                                                                                Page I of2
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 ELIZABETH GONZALEZ - Re: Chat                 with me

             ELIZABETH GONZALEZ
             PATRICK DeWOLF
             1U20120t510:16 AM
 Subject:    Re: Chat with me



 Good morning, Pat:

I'm sorry to bother you and I know you're really busy. I have a question regarding who my reporting
supervisor's are in the Chicago District Office. I was informed that it was only Tyrone Irvin from the Chicago. I'm
aware that I have three managers in the Kansas City Office, which is yourself, Ellis Hall and Germaine Ruddell.
As an IIR and being a part of the IIG team; I am under the assumption that I don't report to the enforcement
manager, Patricia Jaramillo from the Chicago District.

My great concern and I guess I'm also confused as to why Patricia Jaramillo called me into her office
(unannounced) on Tuesday, November L7, 2015 and what seemed and I believe was an interrogation interview
regarding my health and work situation. I was also confused that Tyrone Irvin was not present but he sent me a
text message the following day to ask if I met with Patricia on Tuesday.
That was a very uncomfoftable conversation between Patricia and I; it was unexpected and I have never held a
conversation with her since my employment with the EEOC. She used intimidating tactics and many questions
that were confusing and also emphasized that I was still on probation. My start date was December 1, 2015.

A brief overview of the reason's why I take leave. I have been ill for a few months in which Tyrone is fully aware
of, and was supportive. I was recently taken to the hospital from the Chicago District Office by ambulance on
November 5, 2015.

I'm really sorry, Pat but I just don't know who else to turn to. One other thing; how can I request a reasonable
accommodation and FMLA and who do I address it to?

Thank you and have a great day.

Sincerely,




Elizabeth Gonzalez, IIR
Chicago District Office - EEOC
500 West Madison Street
Suite 2000
Chicago, IL 60661




>>> PATRICK DeWOLF lLl7Bl20L511:30 AM >>>
I am on the town hall and working with upper management.. whats up?



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   Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 65 of 104 PageID #:212                           trtsf

From:              DONNA WALTON
To:                ELIZABETH.GONZALEZ@EEOC.GOV
Date:              1112012015 11:28 AM
Subject:           Re: Reasonable Accommodation (Out of Office)

I am away from the   Office November 10 thru 27th. lwill reply to all inquiries upon my return.

Donna R. Walton, EdD


Donna R. Walton, EdD
Miami Office Program Analyst
Equal Employment Opportunity Commission
Miami District Office
100 SE Second Street
Miami, Florida 33131
Telephone: 305-808-1 764
Fax: 305-808-1 834
donna.walton@eeoc. gov


"Excellence must be the result of caring more than what other people think is wise; risking more than
what other people think is safe; dreaming more than what other people think is practical, but moreover is
expecting more than what other people think is possible."

- V. Lombardi




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immediately notify us by reply email, delete the communication and destroy all copies.

>>> ELIZABETH GONZALEZ 11120115 12:28 >>>

Dear Dr. Walton:

l'm an EEOC federal employee from the Chicago District Office. I need to request a reasonable
accommodation and I don't know where to begin or how to obtain the paperwork.

Thank you and have a great day.




Elizabeth Gonzalez, llR
Chicago District Office - EEOC
500 West Madison Street
Suite 2000
                                                                                Page 1 of
      Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 66 of 104 PageID #:213                          1




 ELIZABETH GONZALEZ - Reasonable Accommodation


From:       ELIZABETH GONZALEZ
To:         SYLVIA.SMITH@EEOC.GOV
Date:       ILl20l20l511:43      AM
 Subject:   ReasonableAccommodation



 Dear Ms. Smith:

I'm an EEOC federal employee from the Chicago District Office. I need to request a reasonable accommodation
and I don't know where to begin or how to obtain the paperwork.

Thank you and have a great day.

Elizabeth Gonzalez, IIR
Chicago District Office - EEOC
500 West Madison Street
Suite 2000
Chicago, IL 60661
(312)353-8972




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       Case: 1:20-cv-02111 Document #: 13 Filed:                                   _-*----_-*"-*
                                                  06/10/20 Page 67 of 104 PageID #:214                         --   Pagell



     From:           SYLVIA SMITH
     To:             ELIZABETH.GONZALEZ@EEOC.cOV
     Date:           1112012015 11:43 AM
     Subject:        Re: Reasonable Accommodation (Out of Office)

     I will be out of the office until Monday November 30. lf you need immediate assistance with FOIA please
     contact Garry Stevens at Garry.Stevens@eeoc.gov or Sherlyn.metzler@eeoc.gov. lf you need
     immediate assistance with anything else, please contact G(firsueh.Cantrell@eeoc.gov ; I will respond to
     your email as soon as possible upon my return.




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                                                                                Page 1 of
      Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 68 of 104 PageID #:215                          1




E   LIZAB ETH GO N ZALEZ                     - Reasona ble   Accom modation


From:       ELIZABETH GONZALEZ
To:         d isa bi   I   ityprog   ra   m@eeoc. gov
Date:       1U201201511:48 AM
Subject:    Reasonable Accommodation



To whom it may concern:

I'm an EEOC federal employee from the Chicago District Office. I need to request a reasonable accommodation
and I don't know where to begin or how to obtain the paperwork.

Thank you and have a great day.

Elizabeth Gonzalez, IIR
Chicago District Office - EEOC
500 West Madison Street
Suite 2000
Chicago, IL 60661
(312) 3s3-8972




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                                                                                   Page I of2
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 ELIZABETH GONZALEZ - Re: Reasonable Accommodation


 From:                       CONSUELA CANTRELL
 To:                         ELIZABETH GONZALEZ
 Date:                       LU20l20t5 12:01 PM
 Subject:                    Re: Reasonable Accommodation
 Attachments:                Rescheduling of the Webinar Training on the Reasonable Accommodation
                             Process


 Good Afternoon Elizabeth,

 Requests for Reasonable Accommodations are processed through the Office of the Chief
 Human Capitol Officer (OCHCO); who may in turn contact your Superuisor for additional
 information. There is an upcoming webinar on how the process works that you might want to
 take (see attached). For now, check out the information on InSite, under the Office of the
 Chief Human Capitol Officer (OCHCO), then "Reasonable Accommodation" under the
 Featured Items list. To get the process stafted, you have to send an email in to the RA
 contact's mailbox (listed on InSite). You may want to bring your Supervisor into the loop, but
 it is not required up front. You may also be required to provide medical documentation to
 suppoft your request. The Disability Program Manager will contact you and let you know
 details once you have submitted your request. For further reading, Order 560.003
 covers EEOC's Reasonable Accommodation Program and can also be found on InSite.

 Let me know if you have any other questions or if I can be of any further assistance.



Sincerely,


 Cowsuela

Consuela J. Cantrell
Management Support Specialist
Equal Employment Opportunity Commission
St. Louis District Office
Robert A. Young Federal Bldg.
7222Spruce St., Rm. 8.100
St. Louis, MO 63103
Phone # (374)539-7837
Fax # (314) 539-7893

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If you received this message in error, please notify the sender by reply e-mail and detete all copies of the message.
>>>  ELIZABETH GONZALEZtLl20l2015 11:56 AM                                         >>>
Dear Ms. Cantrell:

I'm an EEOC federal employee from the Chicago District Office.                                         I need to request           a




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                           November 2012015




Attention: Mr. Rodney Yelder


Fax: (202) 663-4324


From : Elizabeth Gon zalez



Telephone : (312)7 88-45 19



Dear Mr. Rodney,

Attached is my request to begin the process regarding the
reasonable accommodation. I will forward you the medical
documentation and support as soon as possible.
Please feel free to contact me should you have any questions
at (312)788-4519.
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                                          CONFIRMATION OF REQUEST
                                      FOR REASONABLE ACCOMMODATION


                            h            NZAILZ
         Applicant's or Employee's Name                                             Applicant's or Employee's Telephone
                                                                                    Number

         Date of    Request t\             \fO I aO t5                              Empl-oyee's Office

2.
         Tq YDrL                 Ir        vivr                                    t3t2)8b1                 - 80)-0
                                                                                     Supervisor's Telephone Number
3.       TYPE oF AccoMMoDATloN REQUESTED, lF KNowN. (Be os specific os
         possible, e.9., assistive techno.logy, reader, interpreter, schedule chonge)
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4.       REASON FOR REQUEST.

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                             ^,,.
4.       (Disability Program Manager willassign number)

         Log No.:

Privacy Act Statement
The Rehabilitation Act of 1973, 29 U.S.C. section 791 , and Execulive Order I 3'164 authorize collection of this information. The primary use of this
information is to consider, decide, and implement requests for reasonable accommodation. Additional disclosures of the information may be: To
medical personnel to meet a bona fide medical emergency; to another Federal agency, a court, or a party in litigation before a court or in an
administrative proceeding being conducted by a Federal agency when the Government is a party to the judicial or administrative proceeding; to a
congressional office from the record of an individual in response to an inquiry from the congressional office made at the request of the individual; and
to an authorized appeal grievance examiner, formal complaints examiner, administrative judge, equal employment opportunity investigator, arbitrator
or other duly authorized official engaged in investigation or settlement of a grievance, complaint or appeal filed by an employee.



          EEOC Form 557 (Revised l0/2014) PREVIOUS EDITIONS OF THIS FORM ARE OBSOLETE AND MUST NOT BE USED
                                                                                 Page I of
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ELIZABETH GONZALEZ - Re: Reasonable Accommodation


From:        RODNEY YELDER
To:          ELIZABETH GONZALEZ
Date:        1112312015 7:19 PM
Subject:     Re: Reasonable Accommodation


Elizabeth,

Basically, your doctor's statement should state your diagnosis and prognosis. He/she should also state the type of
restrictions and accommodation you need.

>>> ELIZABETH GONZALEZ 11123115 9:24 AM >>>
Good morning, Rodney:

I have a couple questions regarding the medical support. Do I need to get specific paperwork from the EEOC to take
to my doctor to fill out? Also, does my primary doctor have to fill out the paperwork or can my therapist do the
paperwork?

Thank you.

>>> RODNEY YELDER 11t20t2015 12.42 PM >>>
Elizabeth, the process begins by completing the attached form and submitting it to me with medical support.

>>> ELTZABETH GONZALEZ 11t20t2015 1.22 PM >>>
Dear Mr. Yelder:

I'm an EEOC federal employee from the Chicago District Office. I need to request a reasonable accommodation but      I

don't know where to begin or how to obtain the paperwork.

Thank you and have a great day.

Elizabeth Gonzalez, llR
Chicago District Office - EEOC
500 West Madison Street
Suite 2000
Chicago, lL 60661
(312\ 353-8972




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5r4ru     PTETRUSLAK

From:                             STEVEN SCHUSTER <SIEVEN.SCHUSTTR@EEOC.GOV>
Sent:                             Tuesday, November 24,2OLS 4:S4 pM
To:                               PATRICI,A JARAMITLO; TYRONE IRVIN
SubJect                           Re: Fwd: tlizabeth Gonzalez Leave



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>>> TYRONE IRVIN 1tl24l2015 4:ztrt Hvt >>>
Attached is Ellzabeth Gonzahz leave record




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   Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 75 of 104 PageID #:222




STAN PIETRU$AT

Frcrrx                          JUTIANNE EOWMAN <JUI,IANNE,BO\T,MAN@EEOC.GOV>
Scnt                            \llednesday, November25,2015 1:3L PM
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 ELIZABETH GONZALEZ - Reasonable Accommodation


 From:       ELIZABETH GONZALEZ
 To:         ]ULIANNE BOWMAN; PATRICIA JAMMILLO; TYRONE IRVIN
 Date:       1U25120L51:28       PM
 Subject:    Reasonable Accommodation
 CC:         ]OSE ROMO; KIMBERLY ENGMM; PATRICK DeWOLF; RODNEY YELDER; STEPHANIE...



 Dear Ms. Bowman, Ms. Jaramillo and Mr. Irvinn:

 I wanted to inform you today, that I am suffering from two medical conditions that are disabilities that I have
 been trying to deal with for the past year. In August 2015, I informed Mr. Irvin that I was suffering from
 depression and that I sometime had a hard time getting out of bed. Also, that I am in a domestic violence
 situation. I also informed him that I was seeking medical help and therapy and he informed me that I shouldn't
 worry about it since there were laws that protected me.

 The restroom renovations and the dust it created got me sick and I had to be transported to the hospital from
 the EEOC Chicago District Office and Mr. Irvin was a witness to that fact. I was subsequently diagnosed with
 Vertigo which caused me to miss some work days.

 At no point have I ever received any type of counseling or reprimand of any kind and now I have been
 threatened with being made a part time employee or termination.

 Ihave already requested a reasonable accommodation at EEOC Headquaters and I am in touch with the ADA
Coordinator at EEOC Headquarters. To make sure that my request is heard, I am hereby requesting a
reasonable accommodation from all three of you. I would request that I be allowed to work at home on those
days that I cannot get my depression or veftigo under control and have to stay home, This should not be an
issue since the EEOC has the capability of allowing IIR's to work from home as evidence by several recent hires
that strictly working from home. As an alternative I would at the very least request intermittent FMLA leave. Mr.
Irvin has never offered me any type of counseling or help of any kind regarding disability or FMLA paperwork.

I would assume that you would treat me as any other employee that is entitled to ADA or FMLA protections and
my status as a probationary employee is not a condition of being entitled to these protections.

Thank you for your assistance,

Elizabeth Gonzalez, IIR
Chicago District Office - EEOC
500 West Madison Street
Suite 2000
Chicago, IL 60661




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STAil PIETRUSTAK

frtm:                                  PATRIfiA,IAMMITIO < PATRICIAJARAMIUOOETOC.GOV}
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STAN PIETRUSIAK

Frorrt                            PATRICIA'AMMII.LO    <   PAIRICIAJARAMITLO@EEOC.GOV>
Sent:                            Wednesday, November 25, 2015 2:42 ?tvl
To:                              STEVEN SCHUSTER
Cc:                              JUUANNE BOWMAN
Subject:                         Rs Fwd: Reasonabh Accommodation



She refuses to slgn and asklng us Bo albw her b resBn. I agrced. Jose b telllng us that we are not accommodaung
her.and he ls trying to avold problems, Unlon's issue is that we terminated two people before the probattonary per6d
and we dHnt put lt ln miHng back when Tyrone had the aonr€rsations with her. tie sUll here and we are waiting for
her reslgnaUon letser.

>>>     STB/EN SC}IUSIER   fll}sl2ot91:39   pM >>>
Rlgh( you ha\re to dedde whether iB vrodr lt to go fonvard when she has alleged a dlsabtllty. Norr, she may not have
provided medlcal doctrmenhtbn and she may not be dlsabled. There may be no effective accommodaflon.
                                                                                                          but, thls ls
out there, and if shE goes past December 1, she,s no longer probationary.

>>> PATRICIAJARAMIIIO lLlz5lz0l9 2:31PM >>>
we are Just gettfng thls now. wE are supposed b rneet at l:30 to dtscharge her.




                                                                                                                       /
                                                                               GONZALEZ 2016 OO14 REVISED ROI 54 1
 Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 79 of 104 PageID #:226




STAN PIETRUSTAK

From:                                   STTVEN SCHUSTER <STEVENSCHUSTER@€EOC.6OV>
Sent:                                   Wednesday, November 25,2015 3:16 pM
To:                                     PATFIOA JARAMILTO
Subject:                                Rq Fwd: Scan from a Xerox WorkCentre


OK, someone   will need   b   lnluate   tie   reslgnauon acuon in FppS.

>>> PATRICIA JARA!4ILIO tLtZSlZolS 3:14 pM               >>>
She wanted to rsagn immedlately.




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Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 80 of 104 PageID #:227




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To: Juliame Borvnrarr
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   Chicrgo District Olfice                    ,                ..     rr   -   .r .\ t                      :4.*
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I consider this to be constnrctive discharge and I am addressing these issues antl
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this otlice.

As early as ['larch 201 5 [ infbrrnecl Mr. lrvin about my disability.

Elizabeth Conzrlcz
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                                                                               Gonzalez 2016-001 4 001 17
  Outlook. com Print Message                                                        Page 3 of3
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    You can e-mail me the 2015 progress review to elizabeth_gonz2@hotmail.com



    }t om : JULIANNE BowMAN (TLIANNE.BOWMAN@EEOC.GOV)
    Sent Thu 1128116 3.44 PM
    'I'o, Elizabeth Gonzalez
    Ce :   J.AMES TAYLOR

   We don't have a performance appraisal for FY20l6. Those would not be due until the end of the
   fiscal year - or after October 2016. We did not close out your performance for FY20l5 before you
   left the agency. We do have a progress review for you from probably March of 2015. If you would
   like a copy of that, I will scan and e-mail it to you or send it to you at the address below. Just let me
   know.

   Julianne Bowman
   District Director, Chicago District
   Equal Employment Opportunity Commission
   500 West Madison Street, Suite 2000
   Telephone: (3 12) 869-8I I I
   Fax: (312) 869-8041
   iuILutrte. bovl niau'ir:eeoc. eov



   >> ElizabethGonzalez <elizabeth jonz\@hotmail.com> 1114/2016 12..32 pM >>



   Iironr   : el iza beth_ gonzA@hotmail.com
   Sent Thu        1114116    12.32PM
   T'u. julianne.bowman@eeoc.gov
   Llc JAMES TAYLOR (JAMES.TAYLOR@EEOC.GOV)
   Ms. Bowman:

  During my employment with the Chicago District Office I did not get a copy of my Fy2016 performance
  Appraisal in which Mr. Tyrone lrvin told me to sign in october 2015.

  A copy of the FY2016 Performance Appraisal can be sent to the address on file:
  5944 South Tripp Avenue
  Chicago, lL 60629

  Elizabeth Gonzalez




https '//blu I 8 I .mail.live. com/ol/mail.mvc/printMessages?mkFen-us                             3/31/2016
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 Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 87 of 104 PageID #:234



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               u. s. EQUAL EMPLOYI\,IENT OPPORTUNITY COMMISSION
                               Washington, DC 20507

                                   Elizabeth Gorualez, alkl a
                                         Nadine M.,r
                                         Complainant,


                                         Janet Dhillon,
                                          Chair,
                         Equal Employment Opportunity Commission,       2


                                         Agency.

                                    Appeal No. 0120180745

                                    Agency No. 2016-0014

                                          DECISION

On December 22, 2017, Complainant filed an appeal with the Equal Employment Opportunity
Commission (EEOC or Commission), pursuant to 29 C.F.R. $ 1614.403(a), from the Agency's
December 5, 2017 , final decision concerning her equal employment opportunity (EEO)
complaint alleging employment discrimination in violation of Title VII of the Civil Rights Act
of 1964 (Title VII), as amended, 42 U.S.C. $ 2000e et seq., and Section 501 of the Rehabilitation
Act of 1973 (Rehabilitation Act), as amended, 29 U.S.C. $ 791 et seq. For the following
reasons, the Commission VACATES the Agency's final decision.

On December 1,2014, Complainant began working with the Agency as an Information Intake
Representative (IIR) at its Chicago, Illinois District Office (CHIDO). Complainant was required
to serve a one-year probationary period that was scheduled to end on December 1, 2015. On
November 25, 2015, management informed Complainant that it had decided to terminate her




' This   case has been randomly assigned a pseudonym which      will replace Complainant's   name
when the decision is published to non-parties and the Commission's website.

2   In the present matter, the Equal Employment Opportunity Commission (EEOC) is both         the
respondeht agency and the adjudicatory authority. 'The Commission's adjudicatory function is
housed in an office that is separate and independent from those offices charged with in-house
processing and resolution of discrimination complaints. For the purposes of this decision, the
term "Commission" or "EEOC" is used when referring to the adjudicatory authority              and
the term "Agency" is used when referring to the respondent party to this action.
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 employment effective November 30,201,5. In response, Complainant resigned from the Agency
 effective November 25, 2015.

 On January 12,2016, Complainant filed an EEO complaint in which she alleged that the Agency
 discriminated against her on the bases of national origin (Mexican), sex (female), disability, and
 in reprisal for prior protected EEO activity arising under the Rehabilitation Act when:

        1.     On November 17, 2015, November 20, 2015, and November 25,20L5, she was
               denied the ability to work from home as a reasonable accommodation;

        2.     On November 25,2015, she was given a termination letter; and

        3.     On November 25, 2015, she was constructively discharged.

On July 19, 2016, the Agency completed its investigation of Complainant's complaint and
provided her with a copy of the Report of Investigation. Additionally, the Agency informed
Complainant that it would issue a final decision pursuant to 29 C.F.R. $ 1614.302 because the
complaint was a mixed-cased complaint.

In a decision dated December 5,2017, the Agency determined that Complainant did not prove
that she was subjected to unlawful discrimination or denied a reasonable accommodation for her
disability. Additionally, the Agency found that Complainant's claim that her complaint had been
improperly processed was without merit. The Agency then provided Complainant with rights to
appeal the matter to the MSPB within 30 days of receiving the final decision, as well as the
MSPB appeal forms on which to file rhe appeal.

Upon review, we note that the Agency determined that Complainant's complaint essentially
concerns her claim that she was constructively discharged by a series of Agency actions, and
therefore, should be processed as a mixed case complaint pursuafi to 29 C.F.R. $ 16i4.302.
The Agency only provided Complainant with appeal rights to the MSPB and did not provide her
with the right to request a hearing before an EEOC Administrative Judge (AJ). There is no
evidence that Complainant filed an appeal with rhe MSPB.

The MSPB has jurisdiction over appeals of adverse actions, which include removals             and
involuntary resignations after completion of probationary service periods, suspensions for more
than fourteen days, reductions in grade or pay, and furloughs of thirty days or less. See 5 C.F.R
$ 1201.3(a)(l). In this case, Complainant had not completed her probationary period at the time
she resigned from the Agency. As such, Complainant's complaint is not a mixed complaint over
which the MSPB has jurisdiction. Therefore, the Agency should have provided Complainant
with the opportunity to request a hearing before an EEOC AJ, which it failed to do. Therefore,
we remand this matter to the Agency to provide Complainant with an opportunity to request a
hearing before an AJ.
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                                          CONCLUSION

 Accordingly, the Commission VACATES the Agency's final decision and REMANDS this
 matter to the Agency for further processing consistent with this decision and the ORDER set
 forth below.

                                             ORDER

Within thirty (30) calendar days, the Agency shall acknowledge to Complainant that it has
received the remanded claim and simultaneously provide Complainant with a copy of the
investigative file and a notice of her right to a hearing pursuant to 29 C.F.R. $ 1614.108(f).
After receipt of the investigative file and notice of her right to request a hearing, Complainant
shall have thirty (30) calendar days to request a hearing before an AJ, or a final agency decision,
in accordance with 29 C.F.R. $ 1614.108(0. If Complainant requests a hearing, the Agency
shall promptly contact the Office of Federal Operations to request the assignment of an
independent contract Administrative Judge. If the Complainant requests a final decision without
a hearing, the Agency shall issue a final decision within sixty (60) days of receipt of
Complainant's request.

A copy of the Agency's letter of acknowledgment to Complainant and a copy of the notice that
transmits the investigative file and notice of rights must be sent to the Compliance Officer as
referenced below.

             IMPLEMENTATION OF THE COMMISSION',S DECISION (K0719)

Under 29 C.F.R. $ 1614.405(c) and $1614.502, compliance with the Commission's corrective
action is mandatory. Within seven (7) calendar days of the completion of each ordered corrective
action, the Agency shall submit via the Federal Sector EEO Portal (FedSEP) supporting
documents in the digital format required by the Commission, referencing the compliance docket
number under which compliance was being monitored. Once all compliance is complete, the
Agency shall submit via FedSEP a final compliance report in the digital format required by the
Commission. See 29 C.F.R. S 1614.403(g). The Agency's final report must contain supporting
documentation when previously not uploaded, and the Agency must send               a copy of all
submissions to the Complainant and his/her representative.

If the Agency does not comply with the Commission's order, the Complainant may petition the
Commission for enforcement of the order. 29 C.F.R. $ 1614.503(a). The Complainant also
has the right to file a civil action to enforce compliance with the Commission's order prior to or
following an administrative petition for enforcement. See 29 C.F.R. $$ 1614.407,1614.408,
 and 29 C.F.R. $ 161a.503(g). Alternatively, the Complainant has the right to file a civil action
on the underlying complaint in accordance with the paragraph below entitled "Right to File a
Civil Action." 29 C.F.R. $$ 1614.407 and 1614.408. A civil action for enforcement or a civil
action on the underlying complaint is subject to the deadline stated in 42 U.S.C. 2000e-16(c)
(1994 & Supp. IV 1999). If the Complainant files a civil action, the administrative
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 processing of the complaint, including any petition for enforcement,           will be terminated.
 See 29 C.F.R. S 1614.409.

 Failure by an agency to either file a compliance report or implement any of the orders set forth
 in this decision, without good cause shown, may result in the referral of this matter to the Office
 of Special Counsel pursuant to 29 CFR $ 1614.503(0 for enforcement by that agency.


                           STATEMENT OF zuGHTS - ON APPEAL
                                 RECONSTDERATTON (M06 1 7)

The Commission may, in its discretion, reconsider the decision in this case if the Complainant
or the Agency submits a written request containing arguments or evidence which tend to establish
that:

        1.     The appellate decision involved a clearly erroneous interpretation of material fact
               or law; or

        2.     The appellate decision will have a substantial impact on the policies, practices, or
               operations of the Agency.

Requests to reconsider, with supporting statement or brief, must be filed with the Office of
Federal Operations (OFO) within thirty (30) calendar days of receipt of this decision. A party
shall have twenty (20) calendar days         of   receipt   of   another party's timely request for
reconsideration in which to submit a brief or statement in opposition. See 29 C.F.R. g 1614.405;
Equal Emplovment Opportunitv Management Directive for 29 C.F-R- Part 1614 (EEO MD-
110), at Chap. 9 $ VILB (Aug. 5, 2015). All requests and arguments must be submitted to the
Director, office of Federal operations, Equal Employment                               opportunity
Commission. Complainant's request may be submitted via regular mail to P.O. Box 77960,
Washington, DC 20013, or by certified mail to 131 M Street, NE, Washington, DC 20507 . In
the absence of a legible postmark, the request to reconsider shall be deemed timely filed if it is
received by mail within five days of the expiration of the applicable filing period. See 29 C.F.R.
$ 1614.604. The agency's request must be submitted in digital format via the EEOC's Federal
Sector EEO Portal (FedSEP). See 29 C.F.R. $ 161a.a03(g). The request or opposition musr
also include proof of service on the other party.

Failure to file within the time period will result in dismissal of your request for reconsideration
as untimely, unless extenuating circumstances prevented the      timely filing of the request. Any
supporting documentation must be submitted with your request for reconsideration. The
Commission will consider requests for reconsideration filed after the deadline oniy in very
limited circumstances. See 29 C.F.R. g 161a.60a(c).
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               COMPLAINANT',S zuGHT TO FILE A CIVIL ACTION (R0610)

This is a decision requiring the Agency to continue its administrative processing of your
complaint. However, if you wish to file a civil action, you have the right to file such action in
an appropriate United States District Court within ninety (90) calendar days from the date that
you receive this decision. In the alternative, you may file a civil action after one hundred and
eighty (180) calendar days of the date you filed your complaint with the Agency, or filed your
appeal with the Commission. If you file a civil action, you must name as the defendant in the
complaint the person who is the official Agency head or department head, identifying that person
by his or her fuII name and official title. Failure to do so may result in the dismissal of your
case in court. "Agency" or "department" means the national organization, and not the local
office, facility or department in which you work. Filing a civil action will terminate the
administrative processing of your complaint.

                           RIGHT TO REQUEST COUNSEL (20815)

If you want to file a civil action but cannot   pay the fees, costs, or security to do so, you may
request permission from the court to proceed with the civil action without paying these fees or
costs. Similarly, if you cannot afford an attorney to represent you in the civil action, you may
request the court to appoint an attorney for you. You must submit the requests for waiver of
court costs or appointment of an attorney directly to the court, not the Commission. The
court has the sole discretion to grant or deny these types of requests. Such requests do not alter
the time limits for filing a civil action (please read the paragraph titled Complainant's Right to
File a Civil Action for the specific time limits).

FOR THE COMMISSION:




        tte B. Wilson
Executive Officer
Executive Secretariat
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 95 of 104 PageID #:242




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                               CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received within
five (5) calendar days after it was mailed. I certify that this decision was mailed to the
following recipients on the date below:

Elizabeth Gonzalez
5944 S. Tripp Ave.
Chicago, IL 60629

Stan Pietrusiak, Acting Director
Office of Equal Opportunity
Equal Employment Opportunity Commission
131 M St., NE 6NW22K
Washington, DC 20507


Nov    21   2019
Date




                        Division
     Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 96 of 104 PageID #:243




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                                u.s. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                               Wrshington, D.C. 20507



                                                    January 6,2020

Elizabcth Gonzalcz
1944 South Tripp Avenue
Chicago. IL 60629




             SUBJIiC'I':        l"ransrnittal of Report of Investigation
                                Elixheth Ganrulc: r,. Jane! Dhillon, Chair, EEOC
                                EIiO Complaint No. 2016-0014
                                Appeal No. 01201 80745

Dear Ms. Conzalcz:

?ursuant to thc Order the Olfice of Federal Oprations (OFO) issued on November 29, 2019. in the
malrcr ol'your EEO complaint, Appeal Number 0l 201 80745, a copy ol'the investigative l'rle and the
l"orm to Request a l-learing are enclosed.

Discretion should be exerciscd with regard to thc contents ol' thc investigative record. The
inlbmration in the tile should not be discloscd 1o anyone other than you or others dircctly involved
in thc adjudicatiorr of this matter.

lle adviscd that you have thc right to request a hearing belbre an Administrative Judgc (AJ) or to
rcceive a lrnal decision liom the Chair, US Equal Employmenl Opportunity Commission (AgcncyJ.
ll'you wish to requsst a hearing bclbre an AJ. YOU MUST SUBMIT A WRITTEN RBQUEST
FOII A I.IEAITING WTTHIN 30 CALBNDAR DAYS OF RBCBIPT OF' T}IIS
INVESTIGATIVE FTLE. THE WITITTBN RBQUEST MUST BE SENT TO:

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                                Attcntion: William Torruellas
                                Ollice of Fcderal Opcrations
                                US Equal limployment Opportunity Commission
                                l3l M Strcet N.E.
                                Wasl'rington, D.C. 20507

lincloscd lor your convcnicnce, plcase flrnd a hearing request [omr. Submission ol'thc rcquest will
constitute noticc to tlrc Agency under the applicable regulations. ll'a hearing is requcsted, thc AJ
will issuc a dccision on the cornplaint. "lhcrealier, within 40 calendar days ol'reccipt of the AJ's
decision and lrearing rccord, the Agcncy will take linal action by lirlly implemcnting, moditying or
rejccting thc clecision ol'thc AJ in its Final Ordcr, and simultancously liling an appeal rvith the
Oilice Jl'I,cdcral Opcrations. Il'the Agency does not issue a Final Order within 40 days of reccipt ol'
the AJ's dccision, then thc AJ's decision will bccomc the flnalaction of thc Agency.
  Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 97 of 104 PageID #:244




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Page 2                                                              IiEO Complaint No. 2016-0014
                                                                          AppealNo. 0120180745


As an altcrnativc to rnailing the hearing request, you may also acccss the Fedcral Sector EEO Portal
(fliDSEP) to request a hearing online at https://egov.eeoc.govlFedSep/jsp/secure/loginjsf. It you
nced assistance rcgistcring l'or and using FEDSEP, please consult the FEDSEP Uscr's Guide, which
can be lbund by using this link.

ll'a hearing is not requested within 30 days of receipt of thc investigative file, the Agency rvill issue
a ltnal decision on thc merits rvithin 60 calcndar days from the cnd o['the 30-day pcriod fbr
rcquesling a hcaring.




                                                       Stan Pietrusiak,   Acling Director
                                                       0llice ol' Equal Opportunity


lincl.   (Camplainant only)
          lnvcstigative filc
          Form to Request a I learing

cc:      Nicholas Inzco, Director
         Ollice ol' Field Programs

                            Director
         Jul ianrrc Borvnlan,
         Chicago District 0llice
  Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 98 of 104 PageID #:245



                            u.s. EQUAL EMPLOYMENT OppORTtrNrTy COMMISSTON
                                           Washington, D.C. 20507

 Otrc. of E$nl Opportnity


                                            January 17,2020

 Elizabeth Goozalez
 5944 South Tripp Avenue
 Chicago, lL 60629



           SIJBJECT: Elizabeth Gorualezv. Janet Dhillon, Chair, EEOC
                            EEO Complaint No. 2016-0014
                            Appeal No. 0120180745

Dear Ms. Gorualez:

On November 29, 2019, the Equal Employment Oppornrnity Commission @EOC) Office of
Federal Operations (OFO) ordered the Office of Equal Opportunity (OEO) to issue you a copy       of
the investigative file in the above-captioned matter.

On January 6, 2020, OEO forwarded the investigative file and notified you that you have the right
to request a hearing before an Administative Judge (AJ) or to receive a final decision from the
Chair, US Equal Employment Opportunity Commission (Agency). In our letter we referenced a
Hearing Form enclosure; however, we inadvertenfly omitted the Hearing Form. The form is
included here.

If you wish to request a hearing before an AJ, YOU MUST SIIBMIT A WRITTEN REQUEST
FOR A EEARING WITHIN 30 CALEI\DAR DAYS OF RECEIPT OF THIS LETTER.
Please refer to the January 6,2020,1etter for additional inforrration regarding your options.

If a hearing is not requested WITHIN 30 DAYS OF RECEIPT OF TEIS LETTER, the Agency
will iszue a final decision on the merits within 60 calendar days from the end of the 30-day period
for requesting a hearing.




                                                                4Z
                                                     Stan Pietrusiak, Acting Director
                                                     Office of Equal Opportunity

Encl.: Form to Request a Hearing
       January 6,2020 Transmittal of Report of lnvestigation
Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 99 of 104 PageID #:246




                    u.s. EQUAL EMPLOYMENT OPPORTIJNITy COMMISSION
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    TO:             Elizabeth Gonzalezr, Iutske InformatioaRcprese,otative

    FROM:           Tyrone lrvin, Enforcement Srrpervisor

    SUBJECT: TErminationDuringProbationryPedod

   DATE:            Novmbcr l9,20l5

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   MSPB, at 230 South Dearbom Sbcc( 3lr Floor, Chieagp, Illinois. Yolr appcat mgst be is
   writing and give the reasons for contcsting lour rc,aoval.

   If you believc this rction is duo to dis$iminstioq )qlu may file an EEO complaint with EEOC,s
   offcc of Equal Emploprcnt opportunity at I80l L seec*, Nnr, wsshington, DC, Room 9024
   within 45 days of the d*E of this actioa.

   Any Agerncy matcrials you poss€ss, including bui not lirnitcd to    wort pmducts       aad kcys should
   bc returned to mc by close of busincss on November 30, 2015.


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   Human Rcsourcec, oo 2024634551.




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           Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 100 of 104 PageID #:247


 FedEx Office - Michigan     & Jackson
 From:                          Elizabeth Gonzalez < elizabeth_gonz2@hotmail.com >
Sent:                           Tuesday, March 31,2020 5:22 PM
To:                             usa2007@fedex.com
Subject:                        IEXTERNALI Fw: Hearing Request Withdrawl
Attachments:                    20160014 Final Decision Transmittal Letter.pdf; ROltransmittal letter.pdf; HEARING
                                REQUEST -final rev 2-2016.pdf




From: Elizabeth Gonzalez <elizabeth_gonz2@hotmail.com>
Sent: Friday, March 27,2O2O 12:34 PM
To: Wl LLIAM TO R RU ELLAS <Wl LLIAM.TORRU ELLAS@ EEOC.GOV>
Cc: nicholas.inzeo@eeoc.gov <nicholas.inzeo@eeoc.gov>; stan.pietrusiak@eeoc.gov <stan.pietrusiak@eeoc.gov>;
John.Sherlock@eeoc.gov <John.Sherlock@eeoc.gov>
Subject: Hearing Request Withdrawl

Dear Mr. Torruellas:

Due to the my health condition and disabilities (major depressive disorder, suicidal ideation, anxiety disorder,
vertigo, migrainosus and bipolar disorder); I have not been able to thoroughly review my correspondence until
yesterday, March 26,2020.1 was finally able to review the Report of lnvestigation I received on January 13,
2020 and sent to me from Mr. Stan Pietrusiak, Acting Director, Office of Equal Opportunity untilyesterday,
March 26,2O2O.1 now discovered a few discrepancies that prompt me to once again review the original
Report of Investigation issued on, July L9,2076 by Camella Woodham, Deputy Director, Office of Equal
 Opportunity; I now discovered Ms. Woodham did provide me with the right to request a hearing before an
 Administrative Judge or to receive a final decision from the Chair, Equal Employment Opportunity Commission
 (Please See Attachment.) ljust now discovered that Mr. Stan Pietrusiak, Acting Director, Office of Equal
 Opportunity did not attach or include Ms. Woodham's letter that was attached to the original Report of
 lnvestigation.
These recent discoveries also prompt me to once again review the Final Agency Decision issued on December
5,20L7 by Cynthia G. Pierre, Chief Operating Officer. The Report of lnvestigation and Ms. Woodham's letter
was attached to the Final Agency Decision.
 Furthermore, I also now discovered while once again reviewing the Final Agency Decision; the attached
transmittal letter from Ms. Erica D. White-Dunston, (former) Director advised me of my MSPB appeal rights. I
just realized that she maliciously did that to prevent me from exercising my civil rights while jeopardizing my
time limit to file in a timely manner.
I also now discovered the Decision issued on November 27,20L9 by Bernadette B. Wilson, Executive Officer,
Executive Secretariat was a malicious intent to prevent me from exercising my civil rights while jeopardizing
my time limit to file in a timely manner.
I strongly believe the EEO pre-complaint process, the investigation, the Report of lnvestigation, the Final
Agency Decision and the Appeal decision related to Appeal No: 0L20180745 and EEOC Case No: 2016-0014
were intentional, malicious and performed by individuals in positions of power and authority in a
governmental entity. The United States Equal Employment Opportunity Commission has continued to have a
reckless disregard towards me and deliberate practice of discriminating against me.
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The actions taken against me appear to be another act of obstruction of justice and to prevent me from
exercising my civil rights.

The United States Equal Employment Opportunity Commission, Office of Equal Opportunity, Office of Federal
Operations, including everyone involved in both cases (EEOC Case No. 2015-0014 and EEOC Case No. 2019-
OOL?), EEOC management, attorneys, Executive Officers, et., al, have effected my life, my well being and
exacerbated my medical conditions and disabilities. I am not ashamed of my disabilities, but I am most
definitely ashamed that I ever worked for the United States Equal Employment Opportunity Commission.

I am hereby withdrawing      the hearing request I submitted on January L4, 2020 and from the hearing process
related to   EEOC Case No:   2016-0014.



Elizabeth Gonzalez
5944 South Tripp Avenue
Chicago, lL 60629
(312)788-4s19
el iza beth_go nz2 @ hotm a i l.com
            Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 102 of 104 PageID #:249


FedEx Office - Michigan                 & Jackson
From:                                            izabeth Gonzalez < elizabeth_gonz2
                                                El                                    @   hotma il.com >
Sent:                                           Tuesday, March 31,2020 5:23 PM
 lo:                                            usa2007@fedex.com
Subject:                                        IEXTERNALI Fw: Hearing Request Withdrawl




From: Elizabeth Gonzalez
Sent: Friday, March 27,2020L2:37 PM
To: WILLIAM TORRUELLAS <WILLIAM.TORRUELLAS@EEOC.GOV>; Mark Travis <mtravis@travisadr.com>
Cc: John.Sherlock@eeoc.gov <John.Sherlock@eeoc.gov>
Subject: Hearing Request Withdrawl

Dear Mr. Torruellas and Judge Travis:

I am hereby     withdrawingthe hearing request I submitted on January L4,2O2O and from the hearing process
related to EEOC Case No: 2076-0014.



Elizabeth Gonzalez
5944 South Tripp Avenue
Chicago, lL 60629
(312)788-4sr.9
el iza   beth_gonz2   @   hotm   ai l. co   m
            Case: 1:20-cv-02111 Document #: 13 Filed: 06/10/20 Page 103 of 104 PageID #:250


FedEx Office - Michigan                             & Jackson
From:                                                  El iza beth Gonzalez < e iza beth_go nz2
                                                                               I                  @   hotma i l.com   >

Sent:                                                  Tuesday, March 31,2020 5:23 PM
To:                                                    usa2007@fedex.com
Subject:                                               IEXTERNALI Fw: Order        of Dismissal;2016-0014




From: Elizabeth Gonzalez <elizabeth_gonz2@ hotmail.com>
Sent: Monday, March 30,2020 72:27 PM
To: Mark Travis <mtravis@travisadr.com>; IAN SPREAT <IAN.SPREAT@EEOC.GOV>; John.Sherlock@eeoc.gov
<John.Sherlock@eeoc.gov>; IAN SPREAT <IAN.SPREAT@EEOC.GOV>
Cc: Wl LLIAM TO RRU E LLAS <Wl LLIAM.TO                        RR U ELLAS@   EEOC.GOV>
Subject: Re: Order of Dismissal;2OL6-00L4

Dear Judge, receipt acknowledged.

Elizabeth Gonzalez




From: Mark Travis <mtravis@travisadr.com>
Sent: Monday, March 30,2020 9:50 AM
To: Elizabeth Gonzalez <elizabeth_gonz2@hotmail.com>; IAN SPREAT <IAN.SPREAT@EEOC.GOV>;
John.Sherlock@eeoc.gov <John.Sherlock@eeoc.gov>; IAN SPREAT <IAN.SPREAT@EEOC.GOV>
Cc: Wl LLIAM TO RRU ELLAS <Wl LLIAM.TO                         RRU E   LLAS@ EEOC.GOV>
Subject: Order of                Dism issa   I   ; 2OL6-0OL4

Ms. Gonzalez and Agency Counsel:
Attached please find my Order of Dismissal in the above referenced case. Please confirm receipt.

Mark C. Travis, J.D., LL.M.
Arbitrator & Mediator
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P.O. Box 2460
Cookeville, TN 38502
93L.252.9123
Please feelfree to check my online calendar for available dates at http://travisadr.com/calendar/.


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                                     I
                                        13 Filed: 06/10/20 Page 104 of 104 PageID #:251

telephone at93L-252-9123. Please discard any paper copies, and delete allelectronic files of the original
message. Thank you.
